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                                                     April 11, 2023

VIA ECF
Hon. Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza
Brooklyn, N.Y. 11201


         Re:        Kuveyt Türk Notice of Supplemental Authority, Henkin v. Kuveyt Türk, No.
                    1:19-cv-05394 (E.D.N.Y.) (BMC)

Dear Judge Cogan:

        We, along with Mayer Brown LLP, represent defendant Kuveyt Türk in this action. We
write to inform the Court of two recent decisions from this District addressing personal jurisdiction
over non-U.S. banks in the context of Anti-Terrorism Act claims: Przewozman v. Qatar Charity,
2023 WL 2562537 (E.D.N.Y. Mar. 17, 2023) (Garaufis, J.) (attached as Exhibit A) and Henkin, et
al. v. Qatar Charity et al., 2023 WL 2734788 (E.D.N.Y. Mar. 31, 2023) (Donnelly, J.) (attached
as Exhibit B). Both decisions are instructive in light of Kuveyt Türk’s pending motion to dismiss
for lack of personal jurisdiction.

        In Przewozman, the court found allegations that a Qatari bank used a correspondent
account in New York to facilitate transactions for a customer associated with Hamas to be
insufficient to demonstrate a prima facie case of jurisdiction. 2023 WL 2562537, at *15. The
court recognized the plaintiffs’ obligation to plead that the defendant “used an actual, specific
transaction through a New York correspondent account in the course of bringing about the
[plaintiffs’] injuries,” and found that they “entirely fail[ed] to do so.” Id. at *13 (quoting Daou v.
BLC Bank, 42 F.4th 120, 132 (2d Cir. 2022)). The plaintiffs’ failure to allege a connection between
the terrorist attack at issue and the alleged correspondent transactions precluded a finding of
personal jurisdiction over the bank, as there was not a sufficient “nexus between the forum contacts
and the injuries asserted.” Id. at *15. The court also denied the plaintiffs’ request for jurisdictional
discovery, which it held would amount to “a fishing expedition into the existence of” transfers
“regarding which the Complaint is wholly silent.” Id. at *18.

       In Henkin, the court expressly adopted the “detailed and persuasive analysis” of
Przewozman, dismissing claims against one defendant bank for lack of personal jurisdiction while
concluding that the plaintiffs’ vague allegations of correspondent bank activity by the other two
defendants were insufficient to demonstrate the requisite purposeful availment or relatedness.


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2023 WL 2734788, at *3, *9-10. Although the court exercised its discretion to allow the plaintiffs
to pursue limited jurisdictional discovery into whether there was deliberate use of the
correspondent bank account by the latter two defendants, and that “the plaintiffs’ claims arose
from” that activity, it was clear that such connection had not yet been established. Id. at *13.

        Both decisions support arguments advanced by Kuveyt Türk in its pending motion to
dismiss. See Kuveyt Türk MTD at 7-10; Reply at 2-3 (Plaintiffs’ failure to meaningfully connect
alleged use of Kuveyt Türk’s correspondent account with their injuries precludes the exercise of
jurisdiction); Kuveyt Türk MTD at 10-12; Reply at 3-4 (Plaintiffs’ failure to allege details
regarding Kuveyt Türk’s correspondent banking activity, or how that activity relates to Plaintiffs’
claims, warrants dismissal for lack of personal jurisdiction).

                                                 Sincerely yours,

                                                 /s/ Steven T. Cottreau

                                                 Steven T. Cottreau
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                         EXHIBIT A
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                                                                  minor members of the family; and one additionally brings
                    2023 WL 2562537                               a claim as the personal representative of Mr. Przewozman's
      Only the Westlaw citation is currently available.           estate. (Id. ¶¶ 26, 28-38.) Each Plaintiff, as well as each
       United States District Court, E.D. New York.               minor represented by guardians, brings claims for loss of
                                                                  consortium and intentional infliction of emotional distress;
      CHAIM DOV PRZEWOZMAN, HADASSAH                              Mr. Przewozman's estate also brings claims for wrongful
         PRZEWOZMAN, individually, as personal                    death, pain and suffering, and intentional infliction of
       representative of Estate of Pinches Menachem               emotional distress. (Id. ¶¶ 28-29.)
      Przewozman, and as parent and natural guardian
       of Y.P., a minor, and P.P., a minor, CHAYA                    A. The Rocket Attacks
     RACHEL PRZEWOZMAN, individually and as                       On May 4 and 5, 2019, “Hamas and PIJ terrorists launched
      parent and natural guardian of A.M.P., a minor,             over 600 rockets and mortars” from the Gaza Strip. (Id. ¶¶
       and F.P., a minor, SARA PRZEWOZMAN-                        327-28.) At this time, Mr. Przewozman lived in the Israeli city
      ROZENBAUM, YAFA PRZEWOZMAN, and                             of Ashdod, close to the Gaza Strip. (Id. ¶ 332.) On May 5, Mr.
        TZVI YOSEF PRZEWOZMAN, Plaintiffs,                        Przewozman was walking in Ashdod when sirens, warning
                             v.                                   of an incoming rocket attack, were sounded; he took shelter
                                                                  in a nearby building, which was hit by a rocket, and Mr.
        QATAR CHARITY, QATAR NATIONAL
                                                                  Przewozman was hit with shrapnel. (Id. ¶¶ 334-36.) Although
     BANK, and MASRAF AL RAYAN, Defendants.
                                                                  Mr. Przewozman was rushed to the hospital and treated by
                  20-CV-6088 (NGG) (TAM)                          emergency personnel, he succumbed to his injuries. (Id. ¶¶
                              |                                   337-38.)
                      Filed 03/17/2023

                                                                     B. Role of the Defendants
                                                                  The various claims in this case are brought against three
              MEMORANDUM & ORDER                                  Defendants: Qatar Charity, Qatar National Bank, and Masraf
                                                                  al Rayan. (Id. ¶¶ 39, 66, 77, 340, 354, 368, 385.) Plaintiffs
NICHOLAS G. GARAUFIS United States District Judge
                                                                  allege that each of these defendants facilitated the attacks in
 *1 Pending before the court are Defendants Masraf                some way by providing resources to Hamas and PIJ.
al Rayan, Qatar National Bank, and Qatar Charity's
(“Defendants”) motions to dismiss for lack of personal
jurisdiction, improper service of process, and failure to state                          1. Qatar Charity
a claim. (See Masraf al Rayan Mot. (Dkt. 48); Qatar National
Bank Mot. (Dkt. 50); Qatar Charity Mot. (Dkt. 52).) Each          *2 Qatar Charity was originally founded under the name
Defendant also filed a request for oral argument on these         “Qatar Charitable Society.” (Id. ¶ 39.) 2 According to
motions. (See Dkt. 49; Dkt. 51; Dkt. 53.) Plaintiffs filed an     Plaintiffs, Qatar Charity ostensibly engages in philanthropic
omnibus opposition brief responding to all three motions. (See    endeavors which provide cover for its secret funding of
Dkt. 48-3 (“Opp.”).) For the following reasons, Defendants’       terrorist activity. (Id. ¶¶ 127-29.)
motions to dismiss are GRANTED WITHOUT PREJUDICE.
                                                                  Plaintiffs allege that a variety of countries designated Qatar
                                                                  Charity as a “financial supporter of terrorism.” (Id. ¶ 64.)
I. BACKGROUND 1                                                   In July 2008, Israel banned Qatar Charity from operating
This case arises out of a rocket attack launched by Hamas         branches in the Palestinian territories. (Id. ¶ 54.) The only
and the Palestinian Islamic Jihad (“PIJ”) that struck Ashdod,     allegation regarding the United States’ treatment of Qatar
Israel, on May 5, 2019 and killed Pinches Menachem                Charity, however, is that the United States Interagency
Przewozman, a United States citizen. (Compl. (Dkt. 1) ¶¶          Intelligence Committee on Terrorism of the United States
26-27, 334.) Plaintiffs are members of Mr. Przewozman's           National Counterterrorism Center designate Qatar Charity
family. (Id. ¶¶ 26, 32, 33, 36-38.) Each brings claims            “as a ‘priority III terrorism support entity’ ” in March
individually; two Plaintiffs also bring claims as guardians of


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2008. (Id. ¶ 41.) 3 The Complaint includes no allegation             annual reports for the years 2013, 2014, and 2015 reflected
that the United States designated Qatar Charity as a Foreign         fund transfers and joint programs with “various Hamas and
Terrorist Organization (“FTO”) or Specially Designated               PIJ fronts,” including an organization called the “Elehssan
Global Terrorist (“SGDT”). (See generally id.)                       Society.” (Id. ¶¶ 133-34.)


The Complaint also alleges that Qatar Charity is a member            Additionally, Qatar Charity (at an unspecified time)
of the Union of Good, “a notorious hinder of Hamas and               purchased “thousands of anonymous debit cards known as
international terrorism” and an organization that the United         ‘Sanabel Cards’ from the Bank of Palestine,” which were
States designated an SGDT in 2008. (Id. ¶¶ 7, 54.) The               distributed to PIJ and Hamas operatives for personal use and
designation declared that “the Union of Good was ‘an                 to purchase supplies for attacks, and to individual terrorists
organization created by Hamas leaders to transfer funds to the       and family members, particularly after those terrorists’
terrorist organization” and intended to “(i) divert[ ] charitable    deaths. (Id. ¶¶ 150-56.)
donations to support Hamas members and the families of
terrorist operatives; and (ii) dispensing social welfare and
other charitable services on behalf of Hamas.” (Id. ¶ 57.)                              2. Qatar National Bank
Such use of donations included “martyr” payments made to
the families of suicide bombers and direct payments to the           Qatar National Bank is a commercial bank in Qatar. (Opp.
families of individuals serving time in Israeli jails. (Id. ¶ 58.)   at 5; see also Compl. ¶¶ 77-78.) Plaintiffs allege that
                                                                     Qatar National Bank maintained bank accounts and provided
Although the Complaint references direct connections                 banking services for Qatar Charity and a variety of individuals
between Qatar Charity and a variety of terrorist organizations       with ties to Hamas. (Id. ¶¶ 14-15.) Six of the accounts for
around the world, (see, e.g., id. ¶¶ 43-51), the only two            Qatar Charity were opened in 2012, and another was opened
organizations alleged to be implicated in Mr. Przewozman's           in 2006. (Id. ¶ 172.) The different individuals opened bank
death are relevant for the purposes of Plaintiffs’ claims:           accounts at a variety of times over the period discussed in
Hamas and PIJ. Regarding those organizations, the Complaint          the Complaint, including shortly after they were released
alleges that Qatar Charity provided funding to Islamic               from Israeli custody in prisoner exchanges. (See, e.g., id. ¶¶
Relief Worldwide, “which Israel banned in 2014 for funding           174-78.)
Hamas,” (id. ¶ 53), and indirectly provided support as a
member of the Union of Good. (Id. ¶ 54). From March 1,               By virtue of providing banking services to Qatar Charity
2015, until September 7, 2015, Qatar Charity transferred over        and these individuals, the Complaint alleges that Qatar
$28 million to its two branches in the Palestinian Territories,      National Bank violated internal policies and international
and ultimately “transferred a substantial portion of those           banking requirements, including know-your-customer and
funds to Hamas, PIJ, and supposed charities controlled by            due diligence obligations. (Id. ¶¶ 170, 229, 317.) The
those terrorist organizations.” (Id. ¶ 128-29.) Qatar Charity        Complaint further alleges that “[t]he accounts that [Qatar
transferred at least $150,000 between March 2011 and                 National Bank] maintained for the above-mentioned terrorists
September 2015 to one such organization, the Hebron Islamic          were used to finance Hamas and PIJ terrorist activities
Charity Society, which Israel allegedly “outlawed ... because        in Israel.” (Id. ¶ 226.) Finally, Qatar National Bank also
it operated as an arm of Hamas.” (Id. ¶¶ 130-31.)                    allegedly contributed funding to Qatar Charity, including a
                                                                     donation of approximately $275,000, in November 2013, and
 *3 According to the Complaint, these transfers were                 an additional $550,000 in February 2020, “to assist Syrian
identified from two sources. First, the Director and other           refugees.” (Id. ¶ 227-28.)
employees of Qatar Charity's Ramallah Branch were
convicted in Israeli courts of operating an illegal organization
and transferring funds to Hamas. (Id. ¶¶ 132, 143-45.) They
                                                                                          3. Masraf al Rayan
confessed to a scheme by which Qatar Charity transferred
more than $3.5 million of donations between 2009 and 2015            Masraf al Rayan is a bank headquartered in Qatar. (Id. ¶ 66.)
from the organization to the branches in the Palestinian             It provides “banking, financing and investing” services. (Id.
Territories, and then “distributed a portion of those funds”         ¶ 67.) Like Qatar National Bank, Masraf al Rayan provided
to Hamas and PIJ. (Id. ¶ 132.) Second, Qatar Charity's               financial services to Qatar Charity. (Id. ¶ 70.) These services


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included the use of a correspondent banking account at Bank          of facts that, if credited by the ultimate trier of fact, would
of New York Mellon, which allowed Masraf al Rayan to                 suffice to establish jurisdiction over the defendant.” Chloé v.
transact in U.S. dollars on behalf of clients including Qatar        Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 163 (2d Cir.
Charity. (Id. ¶¶ 158, 163-64.) Masraf al Rayan facilitated the       2010). The court neither “draw[s] argumentative inferences in
transfer of $28 million between March to September, 2015,            the plaintiffs favor,” Robinson v. Overseas Mil. Sales Corp.,
from Qatar Charity to its Palestinian branches, (id. ¶ 128),         21 F.3d 502, 507 (2d Cir. 1994), nor does it “accept as true
and the conversion of $3.5 million worth of dollars and Euros        a legal conclusion couched as a factual allegation,” Jazini v.
into Israeli shekels and transfer of the same to the Palestinian     Nissan Motor Co., 148 F.3d 181, 185 (2d Cir. 1998).
territories between 2009 and 2015. (Id. ¶ 132.) Some portion
of this latter transfer is explicitly alleged to have utilized the   Similarly, on a Rule 12(b)(5) motion to dismiss for
New York-based correspondent account. (Id.) Some portion             insufficient service of process, “the plaintiff bears the burden
of each amount was ultimately transferred to Hamas, PIJ, or          of establishing that service was sufficient.” Khan v. Khan,
affiliated organizations. (Id. ¶¶ 129, 132.)                         360 F. App'x 202, 203 (2d Cir. 2010) (Summary Order)
                                                                     (citing Burda Media, Inc. v. Viertel, 417 F.3d 292, 298 (2d
                                                                     Cir. 2005)). Service on a corporation in a foreign country is
   C. Plaintiffs’ Claims                                             governed by Federal Rules of Civil Procedure 4(f) and (h).
On December 15, 2020, Plaintiffs filed the Complaint.
(See generally Compl.) The four counts alleged therein               A motion to dismiss for failure to state a claim pursuant to
are: (1) aiding and abetting foreign terrorist organizations,        Rule 12(b)(6) asks whether the complaint pleads “enough
specifically Hamas and PIJ, in violation of the Anti-Terrorism       facts to state a claim to relief that is plausible on its face.”
Act (“ATA”) and Justice Against Sponsors of Terrorism Act            Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The
(“JASTA”), (id. ¶¶ 339-52); (2) conspiracy to violate the            court “must accept as true all of the allegations contained
ATA and JASTA by facilitating acts of terrorism conducted            in a complaint,” but may discard “legal conclusions” and
by Hamas and PIJ, (id. ¶¶ 353-66); (3) primary violations            “[t]hreadbare recitals of the elements of a cause of action,
of the ATA by providing material support to Hamas and                supported by mere conclusory statements[.]” Ashcroft v.
PIJ with the intent or knowledge that support will facilitate        Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial
terrorism, (id. ¶¶ 367-83); and (4) primary violations of the        plausibility when the plaintiff pleads factual content that
ATA by providing material support to Hamas and PIJ with              allows the court to draw the reasonable inference that the
the knowledge those organizations were designated Foreign            defendant is liable for the misconduct alleged.” Id.; see also
Terrorist Organizations, (id. ¶¶ 384-95.) Plaintiffs allege that     In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 118, 122
they were injured by Defendants’ support of Hamas and PIJ            (2d Cir. 2013).
when Mr. Przewozman died in the rocket attack, causing loss
of consortium and intentional infliction of emotional distress       “Where a Court is asked to rule on a combination of Rule
to his relatives, and, with respect to claims brought by Mr.         12 defenses, it will pass on the jurisdictional issues before
Przewozman's estate, wrongful death, pain and suffering, and         considering whether a claim is stated in the complaint.”
intentional infliction of emotional distress. (Id. ¶¶ 28-38.)        Koulkina v. City of New York, 559 F. Supp. 2d 300, 310
                                                                     (S.D.N.Y. 2008) (collecting cases); see also Arrowsmith v.
*4 Each Defendant individually moved to dismiss under                United Press Int'l, 320 F.2d 219, 221 (2d Cir. 1963) (en
Rules 12(b)(2), for lack of personal jurisdiction; 12(b)(5), for     banc) (“[L]ogic compel[s] initial consideration of the issue
improper or insufficient service of process; 4 and 12(b)(6), for     of jurisdiction over the defendant—a court without such
failure to state a claim.                                            jurisdiction lacks power to dismiss a complaint for failure to
                                                                     state a claim[.]”).

II. LEGAL STANDARD
“In order to survive a motion to dismiss for lack of personal        III. DISCUSSION
jurisdiction, the plaintiffs must make a prima facie showing
that jurisdiction exists.” Licci ex rel. Licci v. Lebanese             A. Improper Service of Process
                                                                      *5 Service of corporations generally is governed by Rule
Canadian Bank, SAL, 732 F.3d 161, 167 (2d Cir. 2013). 5 To
                                                                     4(h). Where service is effected outside of the United
satisfy this requirement, plaintiffs must provide “an averment
                                                                     States, Rule 4(h) incorporates by reference most methods


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prescribed by Rule 4(f)—“Serving an Individual in a Foreign
Country”—excluding personal delivery to an individual                Plaintiffs’ position is correct. To carry the burden generally
under Rule 4(f)(2)(C)(i). See Fed. R. Civ. P. 4(h); Fed. R. Civ.     to show the legal sufficiency of service, Plaintiffs state that
P. 4(f). Excluding individual service, Rule 4(f) provides the        they have not identified any decisions in the United States
following options:                                                   concluding that Qatari law prohibits service by mail; point out
                                                                     that Qatari law does allow for service by mail in other contexts
  (1) by any internationally agreed means of service that            (specifically, service of individuals); and most importantly,
  is reasonably calculated to give notice, such as those             state that Qatari law does not include any prohibition of
  authorized by the Hague Convention on the Service Abroad           service by mail. (See Opp. at 52-54.) This is all that the law
  of Judicial and Extrajudicial Documents;                           requires, See Soc. Enter. LLC v. Sociedad Agricola Cato S.A.,
                                                                     15-CV-4158 (RJD), 2015 WL 13743436, at *3 (E.D.N.Y.
  (2) if there is no internationally agreed means, or if an
                                                                     Oct. 6, 2015) (holding that service by signed receipt Federal
  international agreement allows but does not specify other
                                                                     Express in Chile is permitted under Rule 4(f) because “
  means, by a method that is reasonably calculated to give
                                                                     ‘prohibited’ in this context means that the foreign country's
  notice:
                                                                     law expressly prohibits the method, not merely that it does not
  (A) as prescribed by the foreign country's law for service in      recognize or provide for it”). This interpretation best aligns
  that country in an action in its courts of general jurisdiction;   with another provision of Rule 4(f), which allow for service
                                                                     by any method “prescribed by the foreign country's law.” Fed.
  (B) as the foreign authority directs in response to a letter       R. Civ. P. 4(f)(2)(A). If Rule 4(f)(2)(C) required an affirmative
  rogatory or letter of request; or                                  showing that the method of service used was permitted by
                                                                     foreign law, as the Defendants urge, it would be entirely
  (C) unless prohibited by the foreign country's law, by ... (ii)
                                                                     duplicative of Rule 4(f)(2)(A). See SEC v. Alexander, 248
  using any form of mail that the clerk addresses and sends
                                                                     F.R.D. 108, 111 (E.D.N.Y. 2007) (noting that most courts to
  to the individual and that requires a signed receipt; or
                                                                     read the two provisions alongside each other have held that
  (3) by other means not prohibited by international                 “Rule 4(f)(2)(C)(i) permits personal service so long as the
  agreement, as the court orders.                                    law of the foreign jurisdiction does not specifically forbid
                                                                     personal service”); see also Wright & Miller, 4B Fed. Prac. &
Fed. R. Civ. P. 4(f). Plaintiffs do not assert that Qatar is         Proc. Civ. § 1134 (4th ed. 2022) (“[T]his reading of the rule
subject to an “internationally agreed means of service” under        seems inconsistent with the text on its face, which indicates
Rule 4(f)(1). Instead, Plaintiffs moved for issuance of letters      that personal service and service by mail are permissible
rogatory on January 4, 2021, (Dkt. 7), and the court granted         so long as they are not forbidden by the foreign country's
this request on January 5, 2021. (Dkt. 10). On September 2,          laws.”). While the court would prefer the certainty of the
2022, the Department of State confirmed that the American            letters rogatory process, Plaintiffs’ approach here comports
Embassy had executed the letters rogatory and transmitted            with the Federal Rules.
them to the foreign authorities as of June 2, 2022, but it
appears Plaintiffs have not yet received a response from              *6 Masraf al Rayan 7 next argues that service was improper
Qatari authorities or confirmation that service was executed.        because Plaintiffs have failed to demonstrate the individual
(Dkt. 58.)                                                           who received service was “authorized to accept service” on
                                                                     Masraf al Rayan's behalf. (Masraf al Rayan Mot. at 12; see
In their opposition, Plaintiffs now rely on Rule 4(f)(2)(C)(ii)      also Dkt. 24-2 (email from Federal Express stating package
for their apparent use of Federal Express to deliver service.        was received by “M.Mo-hamed” at address in Qatar).)
(See Masraf al Rayan Mot. at 12.) This Rule only allows such         Service made under subsection (f)(2), as here, must be proved
service by mail if not “prohibited by the foreign country's          “by a receipt signed by the addressee, or by other evidence
law.” Fed. R. Civ. P. 4(f) (2) (C). Plaintiffs do not put forward    satisfying the court that the summons and complaint were
evidence that Qatari law specifically allows such service. 6         delivered to the addressee.” Fed. R. Civ. P. 4(1)(2)(B). But
As a result, the parties argue over whether “prohibited” means       this language includes no clarification for contexts where the
explicitly barred (Defendants’ position) or not affirmatively        service is effected on a foreign corporation, who can only
permitted (Plaintiffs’). (See, e.g., Masraf al Rayan Mot. at 12;     “sign[ ]” a “receipt” through an agent. As a result, at least
Opp. at 53.)                                                         one court in this district has required, where the addressee



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is a corporation, that the plaintiff further show why the           court's intervention, so their motion for a court order pursuant
recipient was “authorized to accept service on behalf of” the       to Rule 4(f)(3) is DENIED without prejudice.
defendant. Rosenberg v. Lashkar-e-Taiba, No. 10-CV-5381
(DLI) (CLP), 2017 WL 11647006, at *4 (E.D.N.Y. Mar. 31,
2017), adopting R&R, No. 10-CV-5381 (Dkt. 61).                         B. Personal Jurisdiction
                                                                     *7 It is undisputed that all three Defendants are domiciled
Plaintiffs have not attempted to prove “the accuracy of the         outside of the United States. The Complaint alleges that Qatar
address where” Masraf al Rayan was served, NYKCool AB. v.           Charity and Masraf al Rayan are based in Qatar, (see Compl.
Pacific Int'l Servs., Inc., 2013 WL 6799973, at *8 (S.D.N.Y.        ¶¶ 7, 66), and although no domicile is alleged for Qatar
Dec. 20, 2013), nor have they offered any evidence that             National Bank, Plaintiffs concede in their opposition brief that
the individual who accepted delivery at that address was            it is a “Qatari bank headquartered in Doha.” (Opp. at 5; see
authorized to accept service on behalf of Masraf al Rayan.          also Compl. ¶ 77.)
Since service by registered mail (with receipt) is not explicitly
authorized for service of corporations by Qatari law, it is         Because these are non-domiciliary defendants, the court must
unclear how Masraf al Rayan would designate the individual          engage in two steps of analysis to determine whether a
                                                                    plaintiff has sufficiently established personal jurisdiction to
who received the Federal Express package to accept service. 8
                                                                    survive a motion to dismiss under Rule 12(b) (2). Eades v.
Accordingly, Plaintiffs’ failure to provide evidence beyond
                                                                    Kennedy, PC Law Offices, 799 F.3d 161, 167-68 (2d Cir.
the receipt by an identified, but unknown, individual at
                                                                    2015). First, the court applies the long-arm statute used by
the address designated leaves the court unable to determine
                                                                    the forum state. Id. (quoting Chloé, 616 F.3d at 163). If, as
whether service was effected. Nonetheless, “[f]ailure to prove
                                                                    Plaintiffs argue, “the defendant is not subject to jurisdiction in
service does not affect the validity of service” and “[t]he
                                                                    any state's courts of general jurisdiction,” this first step may
court may permit proof of service to be amended.” Fed. R.
                                                                    rely instead on the plaintiff's proper service of federal claims
Civ. P. 4(1)(3). If Plaintiffs seek to amend the Complaint
                                                                    rather than the state long-arm statute. Fed. R. Civ. P. 4(k) (2).
in compliance with this Memorandum and Order, the court
                                                                    Second, whether relying on the state long-arm statute or Rule
will permit them to cure these deficiencies regarding proof
                                                                    4(k)(2), the court must analyze “whether personal jurisdiction
of service (or, alternately, to effect service via the conclusion
                                                                    comports with due process protections established under the
of the letters rogatory process). Therefore, Masraf al Rayan's
                                                                    Constitution.” Eades, 799 F.3d at 168; Fed. R. Civ. P. 4(k)(2)
motion to dismiss for improper service is GRANTED with
leave to amend.                                                     (B). 9


Because the court has concluded that two avenues remain             Plaintiffs’ asserted statutory basis of personal jurisdiction
available for Plaintiffs to effect service pursuant to Rule 4(f)    has shifted over the course of this litigation. In the
(2)(B) and (C)(ii), the court declines to exercise its discretion   Complaint, they assert that “Defendants are subject to
to issue an order under Rule 4(f) (3) directing service of          personal jurisdiction in the United States pursuant to 18
Defendants by email. Fed. R. Civ. P. 4(f)(3) (allowing service      U.S.C. § 2334(a), N.Y. C.P.L.R. § 302, and Fed. R. Civ. P.
“by other means not prohibited by international agreement,          4(k)(1)-(2) because, pursuant to a conspiracy, they: transacted
as the court orders”); (see Opp. at 54-55). “[T]here is no          business and committed tortious acts within the United States
hierarchy among the subsections in Rule 4(f)”—that is, there        (and New York)[.]” (Compl. ¶ 23.) In their pre-motion
is no preference in the Rule for service under subsection (f)       letter opposing the Defendants’ request to file this motion
(2) instead of (f)(3). Group One Ltd. v. GTE GmbH, 523 F.           to dismiss, Plaintiffs relied solely on defendants’ use of a
Supp. 3d 323, 341 (E.D.N.Y. 2021). Nonetheless, some courts         correspondent banking account in New York pursuant to a
have adopted additional requirements before granting leave          conspiracy, a legal theory founded in C.P.L.R. § 302(a)(1), see
to effect service by other means, such as: “(1) a showing that      Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 20 N.Y.3d
the plaintiff has reasonably attempted to effectuate service on     327, 339 (2012); Licci, 732 F.3d at 165; they made no mention
the defendant, and (2) a showing that the circumstances are         of personal jurisdiction under section 2334(a) or Rule 4(k),
such that the court's intervention is necessary.” Equipav S.A.      or on the basis of any tortious acts. (See Pls.’ Pre-Mot.
Pavimentacão, Engenharia e Comercia Ltda. v. Bertin, No.            Letter (Dkt. 44) at 2-4.) In their Opposition, Plaintiffs relied
22-CV-4594 (PGG), 2022 WL 2758417, at *4 (S.D.N.Y. July             primarily on Rule 4(k) (2), but also raised arguments that they
14, 2022). Plaintiffs have failed to show the necessity of the      satisfied the requirements of C.P.L.R. sections 302(a)(1) and



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(2), and requested the opportunity to perform jurisdictional        1965) (following Longines-Wittnauer and concluding that the
discovery. (See Opp. at 55-80.) Despite the mutable nature of       location of the consequence of the tort is irrelevant under
Plaintiffs’ theories of jurisdiction, the court will analyze each   section 302(a) (2)). The question is the location of the act,
of the asserted New York and federal bases in turn. 10              not the location of any consequences thereto. Platt Corp. v.
                                                                    Platt, 17 N.Y.2d 234, 237 (1966). 11 The only act allegedly
                                                                    committed in New York was the use of a correspondent
                                                                    banking account—a normal commercial activity which is
            1. Masraf al Rayan and Qatar Charity
                                                                    plainly not a tort—and there is no allegation that Masraf
                                                                    al Rayan or Qatar Charity was ever physically present in
               a. New York's Long-Arm Statute                       the state. Accordingly, section 302(a)(2) cannot provide
                                                                    jurisdiction over either.
 *8 New York's long-arm statute is codified at C.P.L.R. §
302(a). That statute provides four situations where personal         *9 Section 302(a)(1) raises a more complex question.
jurisdiction may be established over a non-domiciliary              That provision provides specific jurisdiction when a party
defendant who, acting in person or through an agent:                “transacts business within the state and the cause of action
  1. transacts any business within the state or contracts           arises from that transaction.” Reed Int'l, Inc. v. Afghanistan
  anywhere to supply goods or services in the state; or             Int'l Bank, __ F. Supp. 3d __, 2023 WL 2138600, at *5
                                                                    (S.D.N.Y. Feb. 21, 2023) (citing C.P.L.R. § 302(a)(2)).
  2. commits a tortious act within the state ...; or                “Proof of one transaction in New York is sufficient to
                                                                    invoke jurisdiction, even though the defendant never enters
  3. commits a tortious act without the state causing in-jury       New York, so long as the defendant's activities here were
  to person or property within the state ..., if he                 purposeful and there is a substantial relationship between
                                                                    the transaction and the claim asserted.” Eades, 799 F.3d at
  (i) regularly does or solicits business, or engages in any
                                                                    168. “Purposeful activities are those with which a defendant,
  other persistent course of conduct, or derives substantial
                                                                    through volitional acts, avails itself of the privilege of
  revenue from goods used or consumed or services
                                                                    conducting activities within the forum State, thus invoking
  rendered, in the state, or
                                                                    the benefits and protections of its laws.” Fischbarg v. Doucet,
  (ii) expects or should reasonably expect the act to have          9 N.Y.3d 375, 380 (2007).
  consequences in the state and derives substantial revenue
  from interstate or international commerce; or                     Plaintiffs allege that Masraf al Rayan transacted business in
                                                                    New York, as an agent of Qatar Charity, 12 when Masraf al
  4. owns, uses or possesses any real personal property             Rayan utilized its correspondent banking account at Bank
  situated within the state.                                        of New York Mellon, in New York, on behalf of Qatar
                                                                    Charity. (Compl. ¶¶ 163, 166.) Correspondent banking is a
C.P.L.R. § 302(a). As discussed above, Plaintiffs only assert
                                                                    system through which banks are able to effect transactions
jurisdiction under section 302(a)(1) or (2).
                                                                    in areas where they do not have a branch or office. (See
                                                                    Compl. ¶¶ 158-60); see also Berdeaux v. OneCoin, Ltd., 561
Section 302(a)(2) is more easily assessed, so the court
                                                                    F. Supp. 3d 379, 403 n.25 (S.D.N.Y. 2021) (“Correspondent
begins there. That provision extends jurisdiction to parties
                                                                    banking is a system of interbank relationships in which a
who “commit[ ] a tortious act within the state.” Id. Under
                                                                    bank sells services to other financial institutions and involves
longstanding New York law, this section extends only to acts
                                                                    banks establishing relationships with one another to facilitate
committed within the state—that is, the defendant must have
                                                                    transactions involving remote customers of certain banks.”).
been physically present in New York when committing the
                                                                    Typically, the foreign bank (here, Masraf al Rayan) will utilize
tort. Longines-Wittnauer Watch Co. v. Barnes & Reinecke,
                                                                    a “correspondent account” at a local bank (Bank of New York
Inc., 15 N.Y.2d 443, 461-62 (1965) (“[T]he Legislature chose
                                                                    Mellon), which is used to send and receive financial transfers
to adopt language which, in so many words, demands that
                                                                    in the area; the local bank will provide services in the region
the tortious act be one committed by the defendant, in person
                                                                    on behalf of customers of the foreign bank, including (for
or through an agent, within this State.”); see also Harvey v.
                                                                    example) transfers or currency exchange transactions. (See,
Chemie Grunenthal, G.m.b.H., 354 F.2d 428, 431 (2d Cir.
                                                                    e.g., id. ¶ 165.)


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                                                                   The Court of Appeals concluded that the intentional use of
The New York Court of Appeals has addressed the use of a           a correspondent account “to effect ‘dozens’ of wire transfers
correspondent account in a very similar context. See Licci,        on behalf of a foreign client” constitutes a “transaction
20 N.Y.3d 327. In Licci, individuals brought ATA claims            of business” pursuant to section 302(a)(1). 20 N.Y.3d at
against a foreign financial institution, Lebanese Canadian         334, 341. However, the court noted that “[i]n the banking
Bank (“LCB”), among other defendants, for injuries and             context, the requisite inquiry ... may be complicated by the
deaths of their family members who were victims in rocket          nature of inter-bank activity, especially given the widespread
attacks allegedly carried out by Hizballah in Israel. Id. at       use of correspondent accounts nominally in New York to
330-31. The district court initially dismissed the claims for      facilitate the flow of money worldwide, often for transactions
lack of personal jurisdiction under section 302(a)(1), holding     that otherwise have no other connection to New York, or
that the plaintiffs had failed to allege a nexus between LCB's     indeed the United States.” Id. at 338. In a later decision,
use of its correspondent account for wire transfers and the        the Court of Appeals explained that the relevant distinction
specific terrorist activity underlying the claim. Licci v. Am.     is between a “non-domiciliary bank [that] is a passive
Express Bank Ltd., 704 F. Supp. 2d 403, 407-08 (S.D.N.Y.           and unilateral recipient of funds later rejected” and the
2010). On appeal, the Second Circuit certified two questions       “[r]epeated, deliberate use that is approved by the foreign
to the New York Court of Appeals:                                  bank on behalf and for the benefit of a customer.” Al Rushaid
                                                                   v. Pictet & Cie, 28 N.Y.3d 316, 326-27 (2016).
   *10 (1) Does a foreign bank's maintenance of a
  correspondent bank account at a financial institution in          *11 The facts alleged here fall somewhere in between
  New York, and use of that account to effect “dozens” of          Amigo Foods and Licci. The Complaint alleges that Masraf
  wire transfers on behalf of a foreign client, constitute a       al Rayan “passed” funds “through” its New York-based
  “transaction” of business in New York within the meaning         correspondent account at Bank of New York Mellon while
  of N.Y. C.P.L.R. § 302(a)(1)?                                    facilitating currency exchanges and transfers of money from
                                                                   Qatar Charity to its branches in the Palestinian territories.
  (2) If so, do the plaintiffs’ claims under the Anti-Terrorism
                                                                   (Compl. ¶ 132.) The money was initially obtained by Qatar
  Act, the ATS, or for negligence or breach of statutory duty
                                                                   Charity from donations “in Qatar and around the world,”
  in violation of Israeli law, “arise from” LCB's transaction of
                                                                   although not specifically in the United States; transferred
  business in New York within the meaning of N.Y. C.P.L.R.
                                                                   into Qatar Charity's Doha-based account at Masraf al Rayan;
  § 302(a)(1)?
                                                                   converted from U.S. dollars or Euros into Israeli shekels, in
Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 673 F.3d       Doha; then transferred to Qatar Charity's Palestinian accounts
50, 74-75 (2d Cir. 2012). The Court of Appeals’ response is        (“pass[ing] through” New York) before being distributed to
highly instructive.                                                Hamas, PIJ, or their affiliates. (Id.) Plaintiffs specifically
                                                                   allege that, between 2009 and 2015, Masraf al Rayan moved
In answering the first question, the Court of Appeals agreed       approximately $3.5 million in U.S. dollars and Euros through
that a defendant may “transact business” within New York           this process, and transferred $25 million from Doha (through
under section 302(a)(1) by “use of a correspondent bank            Masraf al Rayan, and possibly the correspondent account)
account in New York, even if no other contacts between             to a Qatar Charity branch in the Gaza Strip between 2011
the defendant and New York can be established, if the              and 2013. (Id. ¶ 128.) Plaintiffs additionally allege the
defendant's use of that account was purposeful.” 20 N.Y.3d         planned transfer through Masraf Al Rayan of $28 million
at 338 (quoting Licci, 673 F.3d at 66) (emphasis in original).     from Qatar Charity to its branches in Palestine between
The court emphasized the importance of the intent inquiry          March and September of 2015, although the Complaint
and distinguished Amigo Foods Corp. v. Marine Midland              does not mention whether this sum was routed through the
Bank-N.Y., 39 N.Y.2d 391 (1976), in which the only relevant        correspondent account, (Id. ¶ 128.) Some unspecified portions
interaction between the defendant bank and New York—the            of these amounts ultimately reached Hamas, PIJ, and their
“adventitious” maintenance of a correspondent account in the       affiliates, potentially including $150,000 provided to the
jurisdiction—was insufficient to show purposeful transaction       Hebron Islamic Charity Society between March 2011 and
                                                                   September 2015 and unspecified amounts to “the Elehssan
of business. 13 Id.
                                                                   Society.” (Id. ¶¶ 130-33.)




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The Complaint's lack of clarity and specificity on how Masraf                   (3) the necessity of the correspondent
al Rayan used the Bank of New York Mellon account causes                        account to the alleged scheme, and
significant difficulties in applying Licci’s guidance. Plaintiffs               (4) other conduct by which the bank
do not allege that the transactions using the correspondent                     projected itself into the New York
account transferred money to and from New York or the                           market.
United States, a context which would clearly illustrate that
the bank transacted business in New York, because the
correspondent account was the mechanism that made New                *12 Vasquez v. Hong Kong & Shanghai Banking Corp.,
York banking activity possible. See, e.g., Peterson v. Islamic      477 F. Supp. 3d 241, 258 (S.D.N.Y. 2020). Other than the
Republic of Iran, No. 10-CV-4518 (KBF), 2013 WL 1155576,            number of transfers to the correspondent account and amount
at *16 (S.D.N.Y. Mar. 13, 2013) (describing how bank                of money involved—which, as discussed, are both undefined
used correspondent account in New York to distribute sales          —there is no indication in the Complaint that Masraf al
proceeds and interest payments from bonds held in New               Rayan made any specific choices regarding the use of the
York). Nor does the Complaint allege that the correspondent
                                                                    correspondent account. 15 Cf. Off. Comm. of Unsecured
account was used for currency exchanges—to the contrary,
                                                                    Creditors of Arcapita v. Bahrain Islamic Bank, 549 B.R.
it states that those too occurred in Doha. (Compl. ¶ 132.) It
                                                                    56, 68-69 (S.D.N.Y. 2016) (“The Banks ... set the terms of
merely alleges that some portion of the money transferred by
                                                                    each placement transaction.... The Banks selected U.S. dollars
Masraf al Rayan on behalf of Qatar Charity “passed through”
                                                                    as the currency in which to execute the transaction. The
the correspondent account as part of “currency exchange
                                                                    Banks designated New York correspondent bank accounts
transactions” converting dollars into Israeli shekels. (Id.)
                                                                    to receive the funds[.]”). The Complaint is entirely devoid
                                                                    of allegations that Masraf al Rayan encouraged or marketed
Nor do Plaintiffs allege facts giving rise to the inference
                                                                    use of its correspondent account in New York, or that use of
that Masraf al Rayan specifically chose a New York-based
                                                                    the correspondent account was necessary to exchange dollars
account to take advantage of “New York's dependable and
                                                                    for other currencies (or even “cheaper or easier” than other
transparent banking system, the dollar as a stable and fungible
                                                                    options). See Vasquez v. Hong Kong & Shanghai Banking
currency, and the predictable jurisdictional and commercial
                                                                    Corp., No. 18-CV-1876 (PAE), 2019 WL 2327810, at *12
law of New York and the United States.” Licci, 20 N.Y.3d
                                                                    (S.D.N.Y. May 30, 2019); Vasquez, 477 F. Supp. 3d at 259.
at 339. The allegations here regarding the volume of the
                                                                    And the Complaint affirmatively states that “Masraf al Rayan
transactions fall somewhere between Amigo Foods and Licci,
                                                                    had no U.S. branch or office.” (Compl. ¶ 158.)
as the Complaint plainly states more than mere maintenance
of a correspondent account, (see, e.g., Compl. ¶ 132), and
                                                                    Therefore, although Plaintiffs’ allegations are not wholly
the allegations could arguably be read to indicate that the
                                                                    devoid of details, they are too insubstantial to clearly
transactions using the correspondent account “totaled several
                                                                    establish purposeful availment of the New York banking
million dollars.” 14 Licci, 673 F.3d at 56. But unlike in Licci,    system. See, e.g., Singer v. Bank of Palestine, No. 19-
there is no indication that “dozens” of transactions occurred,      CV-6 (ENV) (RML), 2021 WL 4205176, at *5-6 (E.D.N.Y.
id.; indeed, the Complaint is entirely devoid of statements         Apr. 30, 2021) (concluding there was a lack of jurisdiction
regarding the volume and frequency of transfers.                    where the jurisdictional allegations were a “conclusory web”
                                                                    lacking “information as to dates, dollar amounts, number
Underlining this concern, none of the typical markers of            of transactions, senders or recipients of these transfers,”
deliberate use of the New York correspondent account are            but allowing limited jurisdictional discovery). Absent any
alleged in the Complaint. Courts in this circuit have pointed       specificity regarding the scope and extent of the use of the
to four such indicators:                                            account, and without any indication of why the transfers were
                                                                    made “through” New York, the Complaint alleges an example
                                                                    of “the widespread use of correspondent accounts nominally
             (1) the defendant bank's level                         in New York to facilitate the flow of money worldwide ...
             of control over the transfers, (2)                     for transactions that otherwise have no other connection to
             the defendant bank's marketing                         New York,” Licci, 20 N.Y.3d at 338, and comes dangerously
             of the correspondent account or                        close to asserting New York jurisdiction over any financial
             encouragement of others to use it,                     transaction conducted in U.S. dollars. 16 See Cmty. Fin. Grp.,


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Inc. v. Stanbic Bank Ltd., No. 14-CV-5216 (DLC), 2015              Plaintiffs’ injuries far too attenuated. See Strauss v. Credit
WL 4164763, at *4 (S.D.N.Y. July 10, 2015) (routing of             Lyonnais, S.A., 175 F. Supp. 3d 3, 20 (E.D.N.Y. 2016) (“That
U.S. dollar wire payment through New York correspondent            nexus would be too attenuated if, contrary to the facts alleged
account was adventitious, not purposeful use of forum); Hau        here, Defendant ... executed the New York transfers at a
Yin To v. HSBC Holdings PLC, No. 15-CV-3590 (LTS) (SN),            time far removed from the attacks that caused Plaintiffs’
2017 WL 816136, at *7 n.6 (S.D.N.Y. Mar. 1, 2017), aff'd           injuries.”); Universal Trading & Inv. Co, v. Credit Suisse
700 F. App'x 66 (2d Cir. 2017) (Summary Order) (dismissing         (Guernsey) Ltd., No. 12-CV-198 (PAC), 2012 WL 6186598,
for lack of personal jurisdiction where wiring of U.S. dollars     at *4 (S.D.N.Y. Dec. 12, 2012), aff'd, 560 F. App'x 52 (2d
through correspondent account was “passive, rather than            Cir. 2014) (Summary Order) (holding no articulable nexus
‘integral’ to the alleged” fraud).                                 or substantial relationship where there was a gap of nearly a
                                                                   decade between wire transfers and injury to plaintiffs). It is
 *13 Because of these deficiencies, the court harbors serious      the Plaintiffs’ burden to factually allege that the Defendants
doubts that Plaintiffs have alleged purposeful actions in          “used an actual, specific transaction through a New York
New York. Nonetheless, section 302(a)(1) is a “single act          correspondent account in the course of bringing about the
statute,” meaning “one transaction in New York is sufficient”      injuries on which the claims are predicated.” Daou v. BLC
if it bears the markers of a purposeful transaction. Deutsche      Bank S.A.L., 42 F.4th 120, 132 (2d Cir. 2022). The Plaintiffs’
Bank Secs., Inc. v. Montana Bd. of Invs., 7 N.Y.3d 65, 71          general allegations of how Hamas and PIJ used money
(2006); see also Chloé, 616 F.3d at 170. Plaintiffs must—          entirely fails to show 2015 (or earlier) transfers were used “in
and possibly could, if given the opportunity in jurisdictional     the course of” the 2019 rocket attacks.
discovery, addressed further infra—fill in the many gaps
in their allegations regarding how, why, when, and how             Accordingly, Plaintiffs have failed to establish a prima facie
much money was transferred into and from the New York              case for personal jurisdiction over Masraf al Rayan and Qatar
correspondent account. See Vasquez, 2019 WL 2327810, at            Charity pursuant to section 302(a)(1).
*12. Accordingly, the court declines to grant Masraf al Rayan
and Qatar Charity's motions to dismiss for lack of personal
jurisdiction on this basis.
                                                                                           b. Rule 4(k)(2)

The same cannot be said, however, with respect to the second       Plaintiffs argue that, if Masraf al Rayan and Qatar Charity's
prong of section 302(a)(1), which requires that the claims at      contacts with New York are insufficient under New York's
issue “arise from the transactions.” Al Rushaid, 28 N.Y.3d         long-arm statute, the court may still exercise personal
at 323. In Licci, the Court of Appeals explained that this         jurisdiction over them pursuant to Rule 4(k)(2). (Opp. at
required an “articulable nexus” or “substantial relationship,”     56.) That Rule states that proper service establishes personal
but clarified that this was a liberal standard: “these standards   jurisdiction in federal courts over a defendant for claims
connote, at a minimum, a relatedness between the transaction       arising under federal law if “(A) the defendant is not subject
and the legal claim such that the latter is not completely         to jurisdiction in any state's courts of general jurisdiction;
unmoored from the former, regardless of the ultimate merits        and (B) exercising jurisdiction is consistent with the United
of the claim.” 20 N.Y.3d at 339.                                   States Constitution and laws.” Fed. R. Civ. P. 4(k)(2); see also
                                                                   Porina v. Marward Shipping Co., 521 F.3d 122, 127 (2d Cir.
Even by this low standard, Plaintiffs have failed to               2008).
allege facts giving rise to a prima facie case of personal
jurisdiction. The transactions allegedly routed through the         *14 It is undisputed that Plaintiffs’ claims arise under
correspondent account, occurred, at latest, in 2015, while         federal law. See Kaplan v. Cent. Bank of Islamic Republic of
the rocket attacks did not happen until 2019. (Compl. ¶¶           Iran, No. 19-CV-3142 (ILG) (RLM), 2022 WL 1120455, at
17, 128, 132-33; see also id. ¶ 106 (“From at least 2011           *5 (E.D.N.Y. Apr. 14, 2022) (holding that claims pursuant
through 2015, Hamas and PIJ knowingly, willfully, and              to the ATA satisfy this requirement). Whether Masraf al
unlawfully combined, conspired, confederated and agreed            Rayan or Qatar Charity are subject to jurisdiction under
with Defendants to commit numerous acts of international           any state's long-arm statute, though, implicates an ongoing
terrorism[.]”) (emphasis added).) This temporal gap leaves         procedural debate in the federal courts: who bears the burden
the nexus between the Defendants’ New York-related acts and        to show whether jurisdiction could be exercised somewhere?



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Typically, a plaintiff bears the burden of alleging facts              contacts with the United States sufficient to justify the
sufficient to state a prima facie case of jurisdiction, Licci, 732     application of United States law ... but having insufficient
F.3d at 167, but in the context of Rule 4(k)(2) that obligation        contact with any single state to support jurisdiction under state
“in effect requires a plaintiff to prove a negative fifty times        long-arm legislation[.]” Porina, 521 F.3d at 127. This case
over.” United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 40          does not fall into that gap, because the Defendants appear not
(1st Cir. 1999). Assigning the burden of proof to defendants,          to have any general contacts with the United States. By raising
though, would require them to either concede amenability to            solely New York contacts, Plaintiffs attempt to use Rule
suit in federal court or identify a forum where jurisdiction           400(2) to evade the limited extent to which section 302(a)
exists. Id. at 41. The First Circuit addressed this issue by           (1) may require more than constitutional due process. Licci,
developing a burden-shifting framework, under which the                732 F.3d at 170 (“[S]ection 302(a)(1) of New York's long-arm
plaintiff must first certify that “based on the information            statute and constitutional due process are not coextensive[.]”).
that is readily available to the plaintiff and his counsel, the        Nonetheless, nothing in the text of the Rule requires Plaintiffs
defendant is not subject to suit in the courts of general              to allege contacts with the United States generally, so the court
jurisdiction of any state.” Id. Only after this certification is       will analyze the alleged contacts with New York to determine
made does the burden shift to the defendant to show “that one          whether they comport with due process. 17 Dardana Ltd. v.
or more specific states exist in which it would be subject to          Yuganskneftegaz, 317 F.3d 202, 207 (2d Cir. 2003) (“Rule
suit[.]” Id. at 41. In the absence of guidance from the Second         4(k)(2) confers personal jurisdiction over a defendant so long
Circuit, some district courts within the circuit have relied on        as the exercise of jurisdiction comports with the Due Process
this burden-shifting framework. See Abbott Laboratories v.             Clause of the Fifth Amendment.”).
Adelphia Supply USA, No. 15-CV-5826 (CBA) (LB), 2017
WL 11665423, at *5 (E.D.N.Y. Mar. 30, 2017) (collecting
cases). But other circuits have concluded that this element of
Rule 4(k) (2) is met so long as “the defendant contends that he                                c. Due Process
cannot be sued in the forum state and refuses to identify any
                                                                        *15 In determining whether exercising personal jurisdiction
other where suit is possible.” ISI Int'l, Inc. v. Borden Ladner
                                                                       over a defendant would comport with due process, the
Gaervais LLP, 256 F.3d 548, 552 (7th Cir. 2001); see also
                                                                       court once again proceeds in two steps. First, “due process
Mwani v. bin Laden, 417 F.3d 1, 11 (D.C. Cir. 2005); Adams v.
                                                                       requires ... [the defendant] have certain minimum contacts
Unione Mediterranea Di Scurta, 364 F.3d 646, 651 (5th Cir.
                                                                       with [the forum] such that the maintenance of the suit does not
2004).
                                                                       offend traditional notions of fair play and substantial justice.”
                                                                       Int'l Shoe Co. v. State of Wash., Office of Unemployment
Plaintiffs have failed to certify that the Defendants are not
                                                                       Comp. & Placement, 326 U.S. 310, 316 (1945) (quoting
subject to jurisdiction in any state, but Defendants have
                                                                       Milliken v. Meyer, 311 U.S. 457, 463 (1940)). Where, as
declined to identify any state forum where suit is possible. The
                                                                       here, a plaintiff asserts specific jurisdiction, amenability
court is sympathetic to the “Catch-22” situation Defendants
                                                                       to suit depends on an “affiliation between the forum and
would face if forced to bear the burden of providing an
                                                                       the underlying controversy”—in other words, a connection
alternate location for jurisdiction, Swiss Am., 191 F.3d at 41,
                                                                       between the defendant's minimum contacts with the forum
but in light of the due process analysis below and absent
                                                                       and the claim brought. Goodyear Dunlop Tires Operations
guidance from the Second Circuit, it declines to dismiss
                                                                       S.A. v. Brown, 564 U.S. 915, 919 (2011); see also Bank
Plaintiffs’ claims at this time solely on the basis of their failure
                                                                       Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 305
to certify. If Plaintiffs ultimately file an amended complaint,
                                                                       F.3d 120, 127 (2d Cir. 2002) (citing Burger King Corp.
they are encouraged to submit a certification, as would be
                                                                       v. Rudzewicz, 471 U.S. 462, 472-76 (1985)). Second, if
required in the First Circuit, to assist the court's analysis of
                                                                       minimum contacts and a nexus to the claims asserted are
jurisdiction pursuant to Rule 4(k)(2).
                                                                       found, the court is then asked to consider several factors
                                                                       to determine “whether the assertion of personal jurisdiction
Further complicating the issue, Plaintiffs allege no further
                                                                       would comport with fair play and substantial justice.” Burger
contacts between the Defendants and the United States
                                                                       King, 471 U.S. at 476. Such factors include “(1) the burden
beyond those with New York. But Rule 4(k)(2) was added
                                                                       that the exercise of jurisdiction will impose on the defendant;
to the Federal Rules to address the “significant lacuna when
                                                                       (2) the interests of the forum state in adjudicating the case;
the defendant was a non-resident of the United States having
                                                                       [and] (3) the plaintiff's interest in obtaining convenient and


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effective relief.” Metro. Life Ins. Co. v. Robertson-Ceco           claim that personal jurisdiction over Qatar National Bank may
Corp., 84 F.3d 560, 568 (2d Cir. 1996).                             be established based on their participation in a conspiracy
                                                                    with the other Defendants, who used a correspondent banking
After the Court of Appeals ruled on the certified questions         account in New York to transact in United States Dollars.
in Licci, the Second Circuit held that an exercise of personal      (Compl. ¶¶ 23, 158-66.)
jurisdiction over the defendant bank was consistent with due
process. Licci, 732 F.3d at 165. The circuit analyzed due            *16 As with any theory of personal jurisdiction, Plaintiffs’
process separately from the long-arm statute because, in some       argument that jurisdiction over Qatar National Bank is
cases, “personal jurisdiction permitted under the long-arm          established by the actions of its alleged co-conspirators must
statute may theoretically be prohibited under due process           both have a statutory basis and comport with the Constitution.
analysis,” but noted that such cases would be “rare.” Id. at        Suber v. WP Servs., LLC, No. 21-2649, 2023 WL 115631,
170. Ultimately, the court concluded that “the selection and        at *2 (2d Cir. Jan. 10, 2023) [Summary Order) (“[A]
repeated use of New York's banking system” was sufficient           plaintiff must demonstrate a statutory basis for jurisdiction
contact with New York to justify jurisdiction under the             and show that exercising personal jurisdiction comports with
Constitution, and because “the correspondent account at issue       due process.”) (citing Licci, 732 F.3d at 168)).
is alleged to have been used as an instrument to achieve the
very wrong alleged,” the first step of the due process analysis     The Second Circuit has held that conspiracy jurisdiction
was met. Id. at 171.                                                satisfies the requirements of due process where a plaintiff
                                                                    alleges “(1) a conspiracy existed; (2) the defendant
As above, it is fatal to jurisdiction over Masraf al Rayan and      participated in the conspiracy; and (3) a co-conspirator's overt
Qatar Charity that Plaintiffs have failed to allege a causal link   acts in furtherance of the conspiracy had sufficient contacts
between the use of the correspondent account, which ended in        with a state to subject that coconspirator to jurisdiction in that
2015, and the rocket attacks that caused their injury in 2019.      state.” Berkshire Bank v. Lloyds Banking Grp. Plc, No. 20-
There is no basis from which the court can conclude that “the       CV-1987, 2022 WL 569819, at *2 (2d Cir. Feb. 25, 2022)
correspondent account at issue” was “used as an instrument          (Summary Order) (quoting Charles Schwab Corp. v. Bank
to achieve the very wrong alleged.” Id. Without such a nexus        of Am. Corp., 883 F.3d 68, 87 (2d Cir. 2018) (“Schwab I”)).
between the only contacts alleged with the United States            “[T]here is no requirement that a plaintiff demonstrate that
and the claims at issue, the court cannot exercise personal         a defendant ‘directed, controlled, and/or supervised the co-
jurisdiction consistent with due process.                           conspirator who carried out the overt acts in the forum.”
                                                                    Id, (quoting Schwab Short-Term Bond Mkt. Fund v. Lloyds
In sum, Plaintiffs have failed to make out a prima facie            Banking Grp. Plc, 22 F.4th 103, 124 (2d Cir. 2021) (“Schwab
case for jurisdiction over Masraf al Rayan and Qatar Charity        II”)).
under New York's long-arm statute or Rule 4(k)(2). They
have also not successfully shown that the exercise of personal      However, numerous district courts sitting in New York
jurisdiction would be consistent with due process, as is            have held that Section 302(a)(1) of New York's long-arm
required under both approaches. Accordingly, Masraf al              statute, the only section that potentially applies here, see
Rayan and Qatar Charity's motions to dismiss for lack of            supra Part III.A.1.a., does not provide for co-conspirator
personal jurisdiction are GRANTED. If Plaintiffs seek to            jurisdiction. 18 See, e.g., Suber v. WP Servs., LLC, No. 20-
amend their Complaint in accordance with this Memorandum            CV-8177 (AJN), 2021 WL 4429237, at *6 (S.D.N.Y. Sept.
& Order, the court would welcome allegations curing the             27, 2021), aff'd in relevant part by 2023 WL 115631 (2d
deficiencies detailed with respect to purposeful availment and      Cir. Jan. 10, 2023) (collecting cases); Berdeaux, 561 F. Supp.
nexus between the forum contacts and the injuries asserted.         3d at 400 (rejecting theory of personal jurisdiction where
                                                                    “the only adequately pled allegation tying [defendant] to
                                                                    New York is that” a co-conspirator misrepresented material
                    2. Qatar National Bank                          facts within New York); 19 United States v. Besneli, No.
                                                                    14-CV-7339 (JFK), 2018 WL 443747, at *5 (S.D.N.Y. Jan.
Unlike Masraf al Rayan and Qatar Charity, Plaintiffs allege         16, 2018) (collecting cases and stating that “in cases where
no contacts whatsoever between Qatar National Bank and              courts have considered conspiracy-based jurisdiction over a
New York or the United States generally. Instead, Plaintiffs        non-domiciliary defendant, jurisdiction over the alleged co-


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conspirator has usually been premised on § 302(a) (2)”).          of the conspiracy with no connection to California beyond
It appears that New York state courts have not weighed in         the acts of co-conspirators had sufficient minimum contacts
on the precise question, but the court is unable to find any      to satisfy constitutional standards. Id. at 86-87. 21
New York case relying on a co-conspirator theory to establish
personal jurisdiction under section 302(a)(1). Cf. New Media      But the analysis does not end there, because Plaintiffs’
Holding Co. v. Kagalovsky, 949 N.Y.S.2d 22, 24 (1st Dep't         reliance on Rule 4(k)(2) could have, allowed for personal
2012) (holding that personal jurisdiction could be established    jurisdiction over Qatar National Bank notwithstanding the
over defendant pursuant to 302(a) (1) based on the acts of        state forum long-arm statute. If a theory of jurisdiction
companies that were also alter egos of defendant). 20 In          based on Rule 4(k)(2) provided an independent basis for
the closest case, the First Department rejected a conspiracy      jurisdiction over Qatar National Bank, the court would need to
theory of jurisdiction because the alleged business activity      determine whether the acts of Qatar National Bank's alleged
in New York was not a tort, and therefore section 302(a)          co-conspirators create sufficient contact with the United
(2) (under which conspiracy jurisdiction is available) could      States to comport with the requirements of due process. See
not apply; the decision implicitly assumed that co-conspirator    Dardana Ltd. v. Yuganskneftegaz, 317 F.3d 202, 207 (2d
jurisdiction could not extend under section 302(a)(1). See        Cir. 2003) (“Rule 4(k)(2) confers personal jurisdiction over
Bluewaters Comms. Holdings, LLC v. Ecclestone, 966                a defendant so long as the exercise of jurisdiction comports
N.Y.S.2d 232, 233-34 (1st Dep't 2014) (rejecting the use          with the Due Process Clause of the Fifth Amendment”). For
of co-conspirator jurisdiction because “[a co-conspirator's]      this purpose, the Schwab cases provide the relevant analysis.
purchase of ... shares was not a tort, and the complaint does     In Schwab 7, the Second Circuit laid out a three-prong test for
not allege that [co-conspirator] bought those shares at the       determining whether allegations established minimal contacts
direction, under the control, at the request, or on behalf of     with the forum jurisdiction under a conspiracy theory of
the personal jurisdiction defendants.”). With tacit approval      jurisdiction. Schwab I, 883 F.3d at 87. Plaintiffs must allege
(and no contrary statements) from the state courts, the court     “that (1) a conspiracy existed; (2) the defendant participated
agrees with the many federal decisions concluding New York        in the conspiracy; and (3) a co-conspirator's overt acts in
law does not support coconspirator jurisdiction under section     furtherance of the conspiracy had sufficient contacts with
302(a)(1). Accordingly, the New York long-arm statute does        a state to subject that co-conspirator to jurisdiction in that
not establish personal jurisdiction over Qatar National Bank.     state.” Id. The court determined that the Schwab I plaintiffs
                                                                  had failed to adequately allege overt acts in furtherance of the
 *17 Plaintiffs’ arguments in response do not change this         conspiracy that occurred in the forum, and therefore affirmed
analysis. They primarily rely on Berkshire Bank and the           the district court's dismissal of certain defendants for lack of
two Schwab decisions to assert that conspiracy jurisdiction       personal jurisdiction. Id.
is appropriate under New York law. (Opp. at 73-76.) But
these decisions had no opportunity to address section 302(a)      Only in Schwab II, after the plaintiffs amended the complaint
(1); instead, they focused on the requisite constitutional        to include “several overt, conspiratorial acts” by co-
considerations for a co-conspirator theory of jurisdiction.       conspirators within the United States, did the Second Circuit
See Berkshire Bank, 2022 WL 569819, at *3-4 (Summary              allow suit against these defendants to proceed. Schwab II,
Order) (applying section 302(a)(2) and determining that           22 F.4th at 123. The decision emphasized, however, that the
co-conspirator jurisdiction comports with the standards of        Schwab I test “serves the purposeful availment requirement,
constitutional due process); Schwab I, 883 F.3d at 86-87          rather than supplants it.” Id. at 125 (emphasis in original).
(discussing whether a co-conspirator's minimum contacts           Although the constitutional analysis “does not require a
were in furtherance of the conspiracy and therefore indicated     relationship of control, direction, or supervision” between
purposeful availment). The Schwab decisions, which arose in       the defendant and their co-conspirator, the overt acts and
subsequent appeals from the LIBOR multi-district litigation,      connection to the jurisdiction must be foreseeable. Id.
had no occasion to engage with the line of decisions discussed
above because personal jurisdiction there rested on the            *18 Although the Complaint repeatedly asserts a conspiracy
California long-arm statute, rather than New York's. See 883      existed, (see, e.g., Compl. ¶¶ 1, 20, 359), it fails to allege in
F.3d at 82. Further, the specific subset of defendants at issue   a non-conclusory manner any facts from which an inference
did not contest the statutory basis for personal jurisdiction,    of agreement between Qatar National Bank and the other
id.; the only question before the court was whether members       defendants can be drawn. See Halberstam v. Welch, 705 F.2d



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472, 477 (D.C. Cir. 1983) (“[T]he separate elements of civil         Having found that Plaintiffs failed to state a prima facie case
conspiracy [are]: (1) an agreement between two or more               for personal jurisdiction over any of the three defendants,
persons; (2) to participate in an unlawful act, or a lawful act in   the court turns to Plaintiffs’ request to conduct jurisdictional
an unlawful manner; (3) an injury caused by an unlawful overt        discovery. The court has “broad discretion” in deciding
act performed by one of the parties to the agreement; [and]          whether to allow jurisdictional discovery. Lehigh Valley
(4) which overt act was done pursuant to and in furtherance          Indus., Inc. v. Birenbaum, 527 F.2d 87, 93 (2d Cir. 1975).
of the common scheme.”). The factual allegations regarding           “Courts frequently permit jurisdictional discovery where
Qatar National Bank are limited to maintaining bank accounts         the plaintiff has made a sufficient start toward establishing
and providing banking services for Qatar Charity and various         jurisdiction, but will not permit jurisdictional discovery on
Hamas-affiliated individuals, (Compl. ¶¶ 14-15, 171-172,             the basis of a generalized request more akin to a fishing
174-225), contributing to Qatar Charity, (id. at 11 227-28),         expedition.” Alexander v. Porter, No. 13-CV-6834 (SLT)
and it being controlled by members of the Qatari government          (JO), 2014 WL 7391683, at *6 (E.D.N.Y. Dec. 29, 2014).
and royal family, who themselves have ties to Hamas. (Id.
¶¶ 79-82, 111-124.) The Complaint makes no attempt to                As mentioned above, Plaintiffs could benefit from
factually tie the Qatari government or royal family to the           jurisdictional discovery into the specifics of the
rocket attacks at issue (it lacks even a connection between          correspondent account utilizing transfers described in the
Qatar National Bank and the transfers effected by Masraf al          Complaint. But none of these transfers could establish
Rayan), and the only connection with the accounts maintained         jurisdiction even if more detail were provided because, absent
at Qatar National Bank is the conclusory statement that they         some factual allegation to the contrary, there is no causal
“were used to finance Hamas and PIJ terrorist activities in          connection between the transfers and the injuries suffered by
Israel” because they “allowed the released terrorists to finance     Plaintiffs, which are not proximate in time. Any jurisdictional
their personal expenditures, thereby freeing them to continue        discovery at this stage would therefore amount to a fishing
to conduct activities on behalf of Hamas and PIJ” and were           expedition into the existence of later transfers touching New
“directly used ... to further the efforts of Hamas and PIJ to        York—transfers regarding which the Complaint is wholly
carry out terrorist attacks.” (Id. ¶ 226.) How or when these         silent.
accounts were used is left to the imagination.
                                                                     Accordingly, Plaintiffs’ request for jurisdictional discovery is
Putting aside the court's doubts that the Complaint has              DENIED.
sufficiently alleged Qatar National Bank's agreement to
conspire to finance rocket attacks or other specific terrorist
                                                                     IV. CONCLUSION
activity, the Schwab I test also relies on the sufficiency
                                                                     For the aforementioned reasons, Masraf al Rayan, Qatar
of a co-conspirator's contacts with the jurisdiction. Schwab         National Bank, and Qatar Charity's motions to dismiss are
I, 883 F.3d at 87 (including requirement that the “co-               GRANTED WITHOUT PREJUDICE. Defendants’ request
conspirator's overt acts in furtherance of the conspiracy had        for oral argument is DENIED as moot. Plaintiffs will be given
sufficient contacts with a state to subject that co-conspirator      leave to amend their Complaint within thirty days of the date
to jurisdiction in that state”). For the reasons discussed           of this Memorandum and Order. If Plaintiffs fail to amend
above with respect to Masraf al Rayan and Qatar Charity,             their Complaint by this time, the Complaint will be dismissed
the allegations regarding any Defendant's contacts with the          with prejudice.
United States are insufficient to support personal jurisdiction,
and therefore the conspiracy theory of jurisdiction under Rule       SO ORDERED.
4(k) (2) set forth with respect to Qatar National Bank also
fails.                                                               Dated: Brooklyn, New York

Accordingly, Qatar National Bank's motion to dismiss for             March 16, 2023
lack of personal jurisdiction pursuant to Rule 12(b) (2) is
GRANTED.
                                                                     All Citations

  C. Jurisdictional Discovery                                        Slip Copy, 2023 WL 2562537



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                                                     Footnotes


1     The following facts are taken from the Complaint and, for the purposes of this motion to dismiss, are assumed
      to be true. See Ark. Pub. Emps. Ret. Sys. v. Bristol-Myers Squibb Co., 28 F.4th 343, 349 (2d Cir. 2022).
      Defendants also submitted a variety of exhibits, affidavits, and declarations attached to the motion to dismiss.
      These extrinsic documents have been excluded by the court as required by Federal Rule of Civil Procedure
      (“Rule”) 12(b) and were not considered in resolving this motion. Chambers v. Time Warner, Inc., 282 F.3d
      147, 154 (2d Cir. 2002).

2     The Complaint states that Qatar Charity was founded in 2002, (Compl. ¶ 39) but alleges a variety of activities
      that occurred earlier. (See, e.g., id. ¶¶ 43 (1993), 44 (1998), 50 (“the 1990s”).) The court takes judicial notice
      of the fact that public sources, including Qatar Charity's website, state the organization was founded in 1992,
      and assume the Complaint's discrepancy is attributable to a typo. See, e.g., What We Do, Qatar Charity,
      https://www.qcharity.org/en/qa/home/whatwedo (last visited Mar. 6, 2023).

3     Qatar Charity disputes this characterization as unsupported, and potentially sourced from “a webpage found
      at wildleals.org.” (Qatar Charity Mot. at 5.) Plaintiffs are not tasked with proving their factual allegations,
      though, and—as noted above—the court disregards the extrinsic evidence submitted by Defendants on these
      motions to dismiss.

4     Only Masraf al Rayan brings a motion to dismiss on the basis of improper service, but Qatar National Bank
      asserts improper service as part of their Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction. (See
      Qatar Nat'l Bank Mot. (Dkt. 50-1) at 5-6.). Qatar Charity's brief adopts the arguments made by the other
      Defendants. (Qatar Charity Mot at 35.)

5     When quoting cases, unless otherwise noted, all citations and internal quotation marks are omitted, and all
      alterations are adopted.

6     Plaintiffs’ statement that “the Qatari Civil and Commercial Procedures Law (Law No. 13 of 1990) expressly
      authorizes ... Qatari courts ... to deliver process to any person inside or outside of Qatar by registered mail or
      any other appropriate means,” (Opp. at 54), appears to argue by implication that such service would similarly
      be proper on a corporation. Plaintiffs do not dispute that Qatari law addresses service on corporations in
      another section lacking the quoted language. (See Masraf al Rayan Mot. at 13.)

7     Qatar National Bank does not raise an argument in its motion regarding insufficient proof of proper service.
      Although Qatar Charity adopts the arguments of the other Defendants, Masraf al Rayan's argument on this
      point is specific to the proof regarding its service; without its own argument regarding the evidence presented,
      Qatar Charity cannot adopt this point.

8     Plaintiffs argue that Defendants’ appearance in this case is sufficient to prove service. (Opp. at 53.) But the
      case they cite in support of this argument, NYKCool, addressed an entirely different case: the defaulting
      defendant had not appeared, and repeatedly refused to accept delivery of mailed service in a transparent
      attempt to evade jurisdiction. 2013 WL 6799973, at *8. “Nor can defective service be ignored on the mere
      assertion that defendant had actual notice.” Weston Funding, LLC v. Consorcio G Group Dina, S.A. de C.V.,
      451 F. Supp. 2d 585, 589 (S.D.N.Y. 2006). The court will not adopt a legal conclusion that implies defendants
      always waive an ineffective service argument merely by appearing in the case to assert such an argument.

9     The court discusses the due process requirements at length infra, but includes a brief summary here to aid
      the reader. The constitutional analysis proceeds in two steps: first, the court “evaluate[s] the quality and
      nature of the defendant's contacts with the forum state under a totality of the circumstances test. Where the
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      claim arises outThomson     Reuters.
                       of, or relates to, theNo claim to original
                                              defendant's contactsU.S. Government
                                                                    with           Works.
                                                                         the forum—Le.,                               14
                                                                                        specific jurisdiction is asserted
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       —minimum contacts necessary to support such jurisdiction exist where the defendant purposefully availed
       itself of the privilege of doing business in the forum and could foresee being haled into court there.” Licci, 732
       F.3d at 170. Second, if minimum contacts are established, the court must determine “whether the assertion
       of personal jurisdiction would comport with fair play and substantial justice.” Burger King Corp. v. Rudzewicz,
       471 U.S. 462, 476 (1985).

10     Unlike the other presented bases for personal jurisdiction, the Complaint's citation to 18 U.S.C. § 2334(a) as
       a basis for jurisdiction has not been reiterated in any of Plaintiffs’ filings since. In any event, that provision
       allows for venue and service “in the district court of the United States for any district where any plaintiff resides
       or where any defendant resides or is served, or has an agent.” 18 U.S.C. § 2334(a), Even if this provision
       could be read to apply to personal jurisdiction, there are no allegations to support a claim that any Plaintiff
       resides, or that any Defendant resides or has an agent, in New York.

11     The resulting gap in New York's personal jurisdiction law, for torts committed without the state which caused
       injury within, was closed by section 302(a)(3), upon which Plaintiffs do not rely. See Bensusan Rest. Corp.
       v. King, 126 F.3d 25, 29 (2d Cir. 1997). Even if Plaintiffs did assert that basis for jurisdiction, though, that
       provision includes additional requirements not satisfied by the Complaint. Id. (noting section 302(a)(3)’s
       requirements that the party “expect or should reasonably expect the tortious act to have consequences in
       the state and in addition derive substantial revenue from interstate commerce”); see also C.P.L.R. § 302(a)
       (3) (adding that jurisdiction may extend where the alleged tortfeasor “regularly does or solicits business,
       or engages in any other persistent course of conduct, or derives substantial revenue from goods used or
       consumed or services rendered, in the state”).

12     Plaintiffs do not allege any direct ties between Qatar Charity and New York, However, Plaintiffs do allege
       in a few instances that Qatar Charity intentionally used Masraf al Rayan's correspondent banking account.
       (See Compl. ¶¶ 24 (“Qatar Charity and Masraf [a]l Rayan ... knowingly effectuated U.S. dollar-denominated
       funds transfers on behalf of Qatar Charity through the Bank of New York Mellon in New York.”), 132 (alleging
       that Qatar Charity intentionally passed U.S. dollars through the American banking system via Bank of New
       York Mellon).) While these statements appear to insufficiently allege factual contacts between Qatar Charity
       and New York or the United States, the court could charitably read the allegations to imply that Masraf al
       Rayan was acting as Qatar Charity's agent. Because the court holds that Plaintiffs have failed to demonstrate
       the contacts with New York have a sufficient nexus to the claims to exercise jurisdiction, the court does not
       reach whether Plaintiffs have sufficiently alleged an agency relationship between Qatar Charity and Masraf
       al Rayan.

13     The facts of Amigo Foods are complicated, but provide useful context for developing the spectrum of
       purposeful to unintentional contact with the forum via banking activity. The plaintiff, Amigo Foods Corporation,
       purchased goods from a distributor; the contract called for payment to be made at or through a Maine
       bank, Aroostook Trust Company. Licci, 20 N.Y.3d at 335. Amigo obtained a letter of credit from a New
       York bank, who delivered payment on Amigo's behalf to Aroostook's correspondent account at a New York
       bank; but subsequently, the distributor rejected payment and refused to deliver products in accordance with
       the contract. Id. at 335, 337. Aroostook's only relevant, intentional contact with New York was therefore
       the maintenance of a correspondent account there; the choice of the New York bank to attempt to deposit
       payment with Aroostook's New York correspondent account, rather than sending it directly to Aroostook,
       was not at Aroostrook's direction, and could not be considered Aroostrook “transacting business” pursuant
       to section 302(a)(1). Id. at 337-38.

14     Masraf al Rayan argues that Plaintiffs “fail to identify what amount or frequency of [the alleged] funds were
       actually U.S. dollars versus Euros, meaning their allegation may amount to only a de minimis amount of
       dollars passing through New York.” (Masraf al Rayan Mot, at 6.) The court declines to conclude that it lacks
       jurisdiction solely on this basis, but acknowledges that the Complaint's failure to specify the amounts actually


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       transferred through the correspondent account makes it virtually impossible to undertake the “examination
       of the particular facts in each case” required by Licci. 20 N.Y.3d at 338.

15     Indeed, there is no allegation anywhere in the Complaint that Qatar Charity—who appears to have directed
       monetary transfers, (see, e.g., Compl. ¶ 132)—intended to use or was even aware of the existence of a
       correspondent account in New York used by Masraf al Rayan. “Absent unusual circumstances, an individual
       bank customer would have no reason to direct its foreign bank to use a New York-based correspondent
       account for a transaction that, such as those at issue here, has no other connection to New York.” Berdeaux,
       561 F. Supp, 3d at 403 n.25. While allegations illustrating Masraf al Rayan's repeated, purposeful use of the
       New York banking system may be sufficient to establish jurisdiction, it is unclear how it would be sufficient to
       allege Qatar Charity requested currency exchange transactions that, without their knowledge, were effected
       in a New York-based account. (See Qatar Charity Mot. at 9-10.)

16     The Declaration submitted by Patrick J. McArdle on behalf of Plaintiffs, (Dkt. 48-4), implicitly makes the
       same argument. It makes no factual assertions regarding Masraf al Rayan's actions, (see id. ¶ 18 (stating
       that Masraf al Rayan's transfers on behalf of Qatar Charity “almost certainly settled and cleared in the U.S.
       (New York) by U.S. banks”)), but merely describes how money likely flowed through the financial system
       based on the Complaint's description of the transactions. (See generally id.) McArdle opines that, due to
       various regulatory requirements, “foreign banks with no physical U.S. presence” cannot participate in the
       infrastructure which facilitates transfers of U.S. dollars, and instead must use a correspondent account at
       a bank with such a physical presence. (Id. ¶ 11.) If the court were to exercise jurisdiction without indicia
       of purposeful availment beyond a single use of a correspondent account to facilitate such transactions,
       McArdle's assertions would subject any bank transacting in U.S. dollars to New York (or United States)
       jurisdiction.

17     Because the court concluded that the New York long-arm statute was not satisfied, there is no need to reach
       the constitutional analysis for that asserted basis of jurisdiction. In this context, however, where Defendant's
       only alleged ties to the United States are in New York, the due process inquiry would be the same for both
       Rule 4(k) (2) and section 302(a) (1).

18     The statute allows for consideration of acts taken by a party's agent, see C.P.L.R. § 302(a), but there is no
       allegation that Masraf al Rayan's use of a correspondent account was done as Qatar National Bank's agent
       or in any way at the direction or under the control of Qatar National Bank.

19     Plaintiffs claim that Berdeaux did not address conspiracy jurisdiction because, in that case, the “plaintiffs
       expressly disclaimed reliance on conspiracy jurisdiction.” (Opp. at 75 (quoting Berdeaux, 561 F. Supp. 3d at
       399).) That decision, like this one, nonetheless reached all of the plaintiffs’ arguments, including under section
       302(a)(1), “to avoid resting its decision on Plaintiffs’ abandonment.” Berdeaux, 561 F. Supp. 3d at 399.

20     Freeman v. HSBC Holdings PLC, 413 F. Supp. 3d 67 (E.D.N.Y. 2019) presents a single outlier. In that case, a
       court in this district held that personal jurisdiction existed over a defendant on a co-conspirator theory pursuant
       to section 302(a)(1). Id. at 79-80. The defendant in question argued that such a theory was incompatible
       with due process pursuant to the Supreme Court's decision in Walden v. Fiore, 571 U.S. 277 (2014), and
       Freeman's analysis focused on the various facts that distinguished the case from Walden and illustrated that
       the defendant, by virtue of the alleged conspiracy, had the requisite intent to avail itself of the forum. Id. As a
       result, it appears the court did not have the occasion to examine the case law discussed above. In any event,
       the court is more persuaded by the case law discussed above than by Freeman's brief statement that, under
       section 302(a)(1), “activities of a co-conspirator may be imputed to an out-of-state tortfeasor for jurisdictional
       purposes under an agency rationale.” Id. at 79 (quoting In re N. Sea Brent Crude Oil Futures Litig., No. 13-




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       MD-2475 (ALC), 2017 WL 2535731, at *9 (S.D.N.Y. June 8, 2017), which concluded to the contrary that “an
       agency relationship is required to uphold jurisdiction based on a conspiracy theory”)).

21     In a separate section addressing jurisdiction over a different subset of defendants, Schwab I did reference
       section 302(a) even though New York law was inapplicable to the case at issue. 883 F.3d at 85. In that section,
       the Second Circuit addressed whether jurisdiction could constitutionally be asserted over a party solely on the
       basis of its agent's contacts with the forum—a situation explicitly contemplated by every provision of section
       302(a), including 302(a)(1). Id. In concluding that it could, the Second Circuit stated it was “instructive” that
       its extensive case law “never suggested that due process require[d] something more than New York law.” Id.
       Here, there is no assertion, conclusory or otherwise, that Masraf al Rayan acted as Qatar National Bank's
       agent in using its correspondent account, so this section of Schwab I is irrelevant to the analysis herein.



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                          EXHIBIT B
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ANNE CHANA HENKIN, Individually and as Personal..., Slip Copy (2023)
2023 WL 2734788

                                                                Bank's motions is granted; Masraf Al Rayan and Qatar
                    2023 WL 2734788                             Charity's motions are denied without prejudice to renew, and
      Only the Westlaw citation is currently available.         jurisdictional discovery is ordered for those defendants.
       United States District Court, E.D. New York.

      ANNE CHANA HENKIN, Individually and as                                          BACKGROUND
   Personal Representative of the ESTATE OF JUDAH
    HERZEL HENKIN, ADERET RIVKAH HENKIN                         I. The Terrorist Attacks
     STERN, ELIASHIR ELIJAH HENKIN, JACOB                       Hamas is an offshoot of the Muslim Brotherhood, dedicated
 BECHOR-SHALOM HENKIN, JOSEPH GIL HENKIN,                       to radical Islamist principles and the destruction of Israel
                                                                using violence. (ECF No. 1 ¶¶ 88-90.) The United States
 TAAMA FREIDA HENKIN YAAKOVSON, MIRIAM
                                                                government has designated Hamas a Foreign Terrorist
     FULD, Individually, as Personal Representative
                                                                Organization (“FTO”), a Specially Designated Terrorist
    of the ESTATE OF ARI YOEL FULD, and as the
                                                                (“SDT”), and a Specially Designated Global Terrorist
  Natural Guardian of N.S.F. (a minor), NAOMI FULD,             (“SDGT”). (Id. ¶¶ 3, 100-01, 103.) Hamas routinely collects
   TAMAR GILA FULD, ELIEZAR YAKIR FULD,                         money for charitable and humanitarian purposes, which
   HARVEY JONAS YONAH FULD, MARY ALICE                          it then uses to fund terrorism, including the purchase of
  FULD, DANIEL YAAKOV FULD, EYTAN FULD,                         “weapons and explosives” and providing “transportation
   and HILLEL CHAIM SHLOMO FULD, Plaintiffs,                    services, safehouses, training and salaries for its terrorist
                           v.                                   operatives and recruiters.” (Id. ¶ 96.)
        QATAR CHARITY, QATAR NATIONAL
    BANK and MASRAF AL RAYAN, Defendants.                       On October 1, 2015, Eitam and Na'ama Henkin were driving
                                                                with their four children past Beit Furik in the West Bank when
                 21-CV-5716 (AMD) (VMS)                         three Hamas-affiliated terrorists stopped their car and shot and
                             |                                  killed them after a struggle. (Id. ¶ 325.)
                     Filed 03/31/2023
                                                                On September 16, 2018, Khalil Yusef Ali Jabarin stabbed
                                                                Ari Fuld to death outside a supermarket at the Gush Etzion
      MEMORANDUM DECISION AND ORDER                             Junction. (Id. ¶¶ 346-47.) Jabarin allegedly targeted Mr. Fuld
                                                                because Mr. Fuld spoke English. (Id. ¶ 349.) Hamas took
ANN M. DONNELLY United States District Judge                    responsibility for the attack. (Id. ¶ 351.)

 *1 In October 2015, terrorists shot and killed Eitam and
Na'ama Henkin in the West Bank. About three years later,        II. The Defendants’ Roles
another terrorist murdered Ari Fuld at the Gush Etzion          The plaintiffs allege that the three defendants—Qatar Charity,
Junction. The plaintiffs are the victims’ family members.       Qatar National Bank, and Masraf al Rayan—facilitated the
They allege that the defendants—Qatar Charity, Qatar            attacks by providing resources to Hamas.
National Bank and Masraf Al Rayan—enabled the attacks
by providing material support and resources to Hamas,
the terrorist organization behind the attacks. The plaintiffs     a. Qatar Charity
bring this action under the Anti-Terrorism Act, 18 U.S.C. §     Qatar Charity was founded in 1992 as “Qatar Charitable
2333 (the “ATA”), as amended by the Justice Against State       Society.” (Id. ¶ 44.) 2 The plaintiffs allege that Qatar Charity
Sponsors of Terrorism Act, Pub. L. 114-222, 130 Stat. 852       is a “key funding source for international terrorists,” and cite
(2016) (“JASTA”).                                               examples of its funding activities. (Id. ¶¶ 44, 47-58.) The
                                                                plaintiffs allege that in “March 2008, the U.S. Interagency
The defendants move to dismiss pursuant to Federal Rule         Intelligence Committee on Terrorism of the U.S. National
of Civil Procedure 12(b)(2) for lack of personal jurisdiction   Counterterrorism Center listed Qatar Charity (then known
and Federal Rule of Civil Procedure 12(b)(6) for failure to     as Qatar Charitable Society) as a ‘priority III terrorism
state a claim. 1 For the reasons that follow, Qatar National    support entity (TSE)’ because of its ‘intent and willingness’



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to support terrorist organizations that attack the U.S. and      Charity employee Fadi Manasra” to their opposition. (ECF
its interests.” (Id. ¶ 46.) While the plaintiffs do not allege   No. 79 at 5.) The indictment describes the scheme to which
that the United States designated Qatar Charity as an FTO        Manasra confessed: “The funds were transferred from Main
or SGDT, they allege that Israel designated Qatar Charity a      Jam'iya to the Al-Rayan Bank in Doha. From there, funds
member of the Union of Good in July 2008, and in November        in Euros were transferred to Deutsche Bank in Germany
2008, the U.S. Department of the Treasury designated the         and funds in dollars were transferred to a bank in New
Union of Good as an SDGT. (Id. ¶¶ 59, 61.) The Treasury          York. Afterwards, all the funds were transferred to the Bank
Department described the Union of Good as “an organization       of Palestine or to the Islamic Bank in Ramallah and were
created by Hamas leaders to transfer funds to the terrorist      deposited in the bank account of the Jam'iya Ramallah.” (ECF
organization” whose primary purpose was to “strengthen           No. 79-1, Ex. A at 11.) The plaintiffs allege additionally
Hamas's political and military position in the West Bank         that Qatar Charity's annual reports from 2013 to 2015 show
and Gaza, including by: (i) diverting charitable donations       that Qatar Charity transferred funds to various Hamas fronts,
to support Hamas members and the families of terrorist           including the Elehssan Society. (ECF No. 1 ¶ 131.)
operatives; and (ii) dispensing social welfare and other
charitable services on behalf of Hamas.” (Id. ¶ 62.) The         Finally, the plaintiffs allege that Qatar Charity purchased
Union of Good's “charitable services” in the West Bank and       “thousands of anonymous debit cards known as ‘Sanabel
Gaza included “martyr” payments to the families of suicide       Cards’ from the Bank of Palestine,” which “effectively
bombers and direct payments to terrorist and their families as   operated as a source of financing for Hamas.” (Id. ¶¶ 149-51.)
incentives to commit terrorist acts. (Id. ¶ 63.)                 According to the plaintiffs, Hamas terrorists used the cards to
                                                                 fund terrorist attacks and for their financial needs while they
 *2 Although the plaintiffs allege that Qatar Charity funded     planned the attacks. (Id. ¶ 151.) In addition, the defendants
various terrorist organizations globally, they implicate only    used the cards to support families of Hamas terrorists who
Hamas in the deaths of the Henkins and Ari Fuld. The             were imprisoned or killed. (Id. ¶¶ 152-53.)
complaint alleges that Qatar Charity funded and was a
partner of Islamic Relief Worldwide, which Israel banned
in 2014 for funding Hamas. (Id. ¶ 58.) Additionally, the            b. Qatar National Bank
plaintiffs allege that from March 1, 2015, until September       Qatar National Bank was founded in 1964 and is Qatar's
7, 2015, Qatar Charity transferred over $28 million to its       first domestically owned commercial bank. (Id. ¶ 82.) The
two branches in the Palestinian Territories, and ultimately      plaintiffs allege that during the relevant time period, Qatar
“transferred a substantial portion of those funds to Hamas and   National Bank maintained at least seven bank accounts for
supposed charities that it controlled.” (Id. ¶¶ 126-27.) Qatar   Qatar Charity; six accounts were opened in March 2012,
Charity transferred at least $150,000 between March 2011         and one was opened in September 2006. (Id. ¶¶ 169-70.)
and September 2015 to one such organization, the Hebron          Additionally, Qatar National Bank gave money directly to
Islamic Charity Society, which Israel allegedly “outlawed ...    Qatar Charity—approximately $275,000 in November 2013
because it operated as an arm of Hamas.” (Id. ¶¶ 128-29.)        and approximately $550,000 in February 2020—to “promote
Qatar Charity also transferred money to the Elehssan Society,    Qatar Charity's ability to fund Hamas and other terrorist
another “Hamas front[ ].” (Id. ¶ 131.)                           organizations.” (Id. ¶¶ 225-26.) 3 The plaintiffs also allege
                                                                 that Qatar National Bank served as “a principal banker for
According to the plaintiffs, Qatar Charity's Ramallah Branch     Hamas leadership,” maintaining bank accounts and providing
Director and two other staff members were convicted in Israel    banking services to multiple Hamas terrorists, whose bank
of operating an illegal organization and transferring funds      accounts were “used to finance Hamas terrorist activities in
to Hamas. (Id. ¶¶ 130, 141-43.) Those individuals confessed      Israel.” (Id. ¶¶ 172-99, 210-24.)
to a scheme in which Qatar Charity transferred donations
worth more than $3.5 million in U.S. dollars and Euros           The plaintiffs allege that Qatar National Bank violated
to its branches in the Palestinian Territories between 2009      internal policies and international banking requirements,
and 2015, and then “distributed a portion of those funds”        including know-your-customer and due diligence obligations,
to Hamas and its affiliates. (Id. ¶ 130.) In support of their    by providing banking services to terrorists and Qatar Charity.
claims, the plaintiffs attach the July 26, 2017 “amended         (Id. ¶¶ 168, 315.)
indictment, guilty plea, conviction and sentencing of Qatar



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                                                                  54, 56, 58); the plaintiffs filed an omnibus opposition on May
   c. Masraf al Rayan                                             3, 2022. (ECF No. 61.) The Court held oral argument on
 *3 Masraf al Rayan, one of the largest Islamic banks in          March 16, 2023, and the parties filed supplemental letters on
the world, was founded in 2006 and is a publicly held             March 23, 2023. (ECF Nos. 77, 78, 79, 80.)
banking company headquartered in Doha that “purports to
engage in banking, financing and investing activities in          There are two substantially similar cases pending against
conformity with the principles of Islamic Sharia Law.” (Id.       these defendants in this district, both of which raise nearly
¶¶ 71-72.) Like Qatar National Bank, Masraf al Rayan              identical claims: that the defendants supported Hamas—
provided banking services to Qatar Charity. The plaintiffs        and in those cases also the Palestinian Islamic Jihad—in
allege that between March and September 2015, Masraf al           violation of JASTA and the ATA. See Force, et al. v. Qatar
Rayan facilitated the transfer of $28 million from Qatar          Charity et al., No. 20-CV-2578 (E.D.N.Y.); Przewozman, et
Charity to its Palestinian branches (id. ¶ 126), and between      al. v. Qatar Charity, et al., No. 20-CV-6088 (E.D.N.Y.). The
2009 and 2015, the conversion of $3.5 million of dollars and      defendants also moved to dismiss those cases for lack of
Euros into Israeli shekels, which were then transferred to        personal jurisdiction and for failure to state a claim. Force,
the Palestinian territories. (Id. ¶ 130.) As noted above, the     No. 20-CV-2578 (ECF Nos. 55, 56, 57); Przewozman, No.
Manasra confession specifically identified Masraf al Rayan        20-CV-6088 (ECF Nos. 48, 50, 52). The motions in Force
in the scheme. (See ECF No. 79-1, Ex. A at 11 (“The funds         are pending before Judge Brian Cogan. On March 17, 2023,
were transferred from Main Jam'iya to the Al-Rayan Bank           Judge Nicholas Garaufis granted the defendants’ motions
in Doha.”).) The plaintiffs also allege that Masraf al Rayan      to dismiss for lack of personal jurisdiction. Przewozman,
used its correspondent bank account with Bank of New York         No. 20-CV-6088, 2023 WL 2562537 (E.D.N.Y. Mar. 17,
Mellon to effectuate these transfers. (ECF No. 1 ¶ 130.) A        2023). There is one significant factual difference between
portion of these funds was later transferred to organizations     this case and Przewozman: the terrorist attack in Przewozman
affiliated with Hamas, which the plaintiffs allege gave Hamas     occurred in 2019, more than four years after the last Bank
access to U.S. dollars, a “coveted currency.” (Id. ¶¶ 130,        of New York Mellon transaction alleged in the complaint,
164.) 4                                                           2023 WL 2562537, at *1-3, while the first attack in this
                                                                  case took place in 2015, and the second in 2018. As
                                                                  explained below, the Court adopts Judge Garaufis’ detailed
III. The Plaintiffs’ Claims                                       and persuasive analysis of the jurisdictional questions but
The plaintiffs, family members of the victims, bring claims       grants jurisdictional discovery with respect to Qatar Charity
individually. Anne Henkin also brings claims as the personal      and Masraf al Rayan.
representative of Mr. Henkin's estate, and Miriam Fuld brings
claims as the personal representative of Mr. Fuld's estate and
on behalf of her minor child. (Id. ¶¶ 25-43.)
                                                                                     LEGAL STANDARD
The complaint alleges four counts: (1) aiding and
                                                                  I. Rule 12(b)(2)
abetting foreign terrorist organizations—specifically Hamas
                                                                   *4 “A court facing challenges as to both its jurisdiction
—in violation of the ATA and JASTA (id. ¶¶ 353-66); (2)
                                                                  over a party and the sufficiency of any claims raised must
conspiracy to violate the ATA and JASTA by facilitating acts
                                                                  first address the jurisdictional question and must dismiss the
of Hamas-led terrorism (id. ¶¶ 367-80); (3) primary violations
                                                                  action against any defendant over whom it lacks personal
of the ATA by providing material support to Hamas with
                                                                  jurisdiction.” Romero v. 88 Acres Foods, Inc., 580 F. Supp. 3d
the intent or knowledge that support will facilitate terrorism,
                                                                  9, 14 (S.D.N.Y. 2022) (internal quotation marks and citation
(id. ¶¶ 381-97); and (4) primary violations of the ATA by
                                                                  omitted).
providing material support to Hamas with the knowledge that
it was designated an FTO. (Id. ¶¶ 398-409.) The plaintiffs
                                                                  When a defendant moves to dismiss pursuant to Rule 12(b)
allege that the defendants’ support of Hamas enabled Hamas
                                                                  (2) for lack of personal jurisdiction, the plaintiff bears the
to engage in the acts that killed Mr. Henkin and Mr. Fuld,
                                                                  burden of establishing jurisdiction. In re Magnetic Audiotape
causing the plaintiffs significant physical, psychological,
                                                                  Antitrust Litig., 334 F.3d 204, 206 (2d Cir. 2003). “Prior
and emotional injuries. (Id. ¶¶ 364, 379, 396, 408.) 5 The        to discovery, a plaintiff may defeat a motion to dismiss
defendants moved to dismiss on March 18, 2022 (ECF Nos.           based on legally sufficient allegations of jurisdiction.” Id.;



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see also Koehler v. Bank of Bermuda Ltd., 101 F.3d 863, 865         Qatar National Bank, the plaintiffs concede that it is a “Qatari
(2d Cir. 1996) (“[U]ntil discovery takes place, a plaintiff is      bank headquartered in Doha.” (ECF No. 61 at 5; see also ECF
required only to make a prima facie showing by pleadings            No. 1 ¶¶ 77, 82.)
and affidavits that jurisdiction exists.”); Troma Entm't, Inc. v.
Centennial Pictures Inc., 729 F.3d 215, 217 (2d Cir. 2013)          Because these are non-domiciliary defendants, the Court
(“[A] complaint will survive a motion to dismiss for want of        applies a two-step analysis to determine whether the plaintiffs
personal jurisdiction so long as its allegations, taken as true,    have met their burden to establish personal jurisdiction for
are legally sufficient allegations of jurisdiction.” (citations     purposes of Rule 12(b)(2). Eades v. Kennedy, PC Law Offices,
and quotation marks omitted)).                                      799 F.3d 161, 167-68 (2d Cir. 2015). First, the Court applies
                                                                    the long-arm statute used by the forum state. Id. If, as the
When evaluating whether the plaintiffs have met their burden        plaintiffs argue, “the defendant is not subject to jurisdiction in
at this stage, “the Court may look beyond the four corners of       any state's courts of general jurisdiction,” the Court considers
the complaint and consider materials outside of the pleadings,      whether the plaintiffs effected proper service of federal
including accompanying affidavits, declarations, and other          claims, instead of looking to a state long-arm statute. (ECF
written materials.” Vasquez v. Hong Kong & Shanghai                 No. 61 at 60; Fed. R. Civ. P. 4(k)(2).) Second, whether
Banking Corp., Ltd., 477 F. Supp. 3d 241, 245 n.1 (S.D.N.Y.         relying on the state long-arm statute or Rule 4(k)(2), the Court
2020). The Court “constru[es] all pleadings and affidavits          must analyze “whether personal jurisdiction comports with
in the light most favorable to the plaintiff and resolv[es] all     due process protections established under the Constitution.”
doubts in the plaintiff's favor.” Penguin Grp. (USA) Inc. v.        Eades, 799 F.3d at 168; Fed. R. Civ. P. 4(k)(2)(B).
Am. Buddha, 609 F.3d 30, 34 (2d Cir. 2010).
                                                                     *5 In the complaint, the plaintiffs assert that “Defendants
                                                                    are subject to personal jurisdiction in the United States
II. Rule 12(b)(6)                                                   pursuant to 18 U.S.C. § 2334(a), N.Y. C.P.L.R. § 302, and
To survive a motion to dismiss under Federal Rule of Civil          Fed. R. Civ. P. 4(k)(1)-(2) because, pursuant to a conspiracy,
Procedure 12(b)(6), “a complaint must contain sufficient            they: transacted business and committed tortious acts within
factual matter, accepted as true, to state a claim to relief that   the United States (and New York)[.]” (ECF No. 1 ¶ 22.)
is plausible on its face.” Hogan v. Fischer, 738 F.3d 509,          In their pre-motion letter, the plaintiffs relied solely on
514 (2d Cir. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662,        C.P.L.R. § 302(a)(1), on the theory that the defendants used
678 (2009)). A claim is plausible “when the plaintiff pleads        a correspondent banking account in New York pursuant to a
factual content that allows the court to draw the reasonable        conspiracy. (ECF No. 52 at 2-4 (citing Licci ex rel. Licci v.
inference that the defendant is liable for the misconduct           Lebanese Canadian Bank, SAL, 20 N.Y.3d 327, 339 (2012)
alleged.” Matson v. Bd. of Educ. of City Sch. Dist. of N.Y., 631    (“Licci II”).) The plaintiffs did not claim in that letter that
F.3d 57, 63 (2d Cir. 2011) (quoting Iqbal, 556 U.S. at 678).        there was personal jurisdiction under section 2334(a) or Rule
Although detailed factual allegations are not required, the         4(k), or because the defendants committed tortious acts within
pleading standard “requires more than labels and conclusions,       New York. (Id.) However, in their brief opposing dismissal,
and a formulaic recitation of a cause of action's elements          the plaintiffs cited Rule 4(k)(2) as a basis for personal
will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555         jurisdiction, as well as C.P.L.R. sections 302(a)(1) and (2);
(2007) (noting that courts “are not bound to accept as true         they also requested jurisdictional discovery. (ECF No. 61 at
a legal conclusion couched as a factual allegation” (citation
                                                                    60-86.) I address each argument in turn. 6
omitted)).


                                                                      a. Masraf al Rayan and Qatar Charity
                        DISCUSSION
                                                                                   i. New York's Long-Arm Statute
I. Personal Jurisdiction
It is undisputed that the defendants are domiciled outside of       The plaintiffs assert jurisdiction under sections 302(a)(1) and
the United States. The complaint alleges that Masraf al Rayan       (2) of New York's long-arm statute. The statute provides
and Qatar Charity are based in Qatar, (see ECF No. 1 ¶¶ 7,          that personal jurisdiction may be established over a non-
71), and although the complaint does not allege a domicile for      domiciliary defendant who, acting in person or through an



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agent: (1) “transacts any business within the state,” or (2)        banking is a system of interbank relationships in which a
“commits a tortious act within the state.” C.P.L.R. § 302(a)        bank sells services to other financial institutions and involves
(1), (2).                                                           banks establishing relationships with one another to facilitate
                                                                    transactions involving remote customers of certain banks.”
Under longstanding New York law, section 302(a)(2) extends          Berdeaux v. OneCoin, Ltd., 561 F. Supp. 3d 379, 403 n.25
only to acts committed within the state—that is, the defendant      (S.D.N.Y. 2021) (internal quotation marks omitted); (ECF
must have been physically present in New York when                  No. 1 ¶¶ 157-60.) Typically, the foreign bank—in this case,
committing the tort. Longines-Wittnauer Watch Co. v. Barnes         Masraf al Rayan—utilizes a “correspondent account” at
& Reinecke, Inc., 15 N.Y.2d 443, 461-62 (1965) (“[T]he              a local bank—here, Bank of New York Mellon—to send
Legislature chose to adopt language which, in so many               and receive financial transfers in the area; the local bank
words, demands that the tortious act be one committed               provides services in the region on behalf of the foreign
by the defendant, in person or through an agent, within             bank's customers including transfers or currency exchange
this State.” (internal quotation marks omitted) (emphasis in        transactions. (See, e.g., id.)
original); see also Harvey v. Chemie Grunenthal, G.m.b.H.,
354 F.2d 428, 431 (2d Cir. 1965) (following Longines-               The New York Court of Appeals held in Licci II that a
Wittnauer and concluding that the location of the consequence       defendant may “transact business” within New York under
of the tort is irrelevant under section 302(a)(2)). It is the       section 302(a)(1) by “use of a correspondent bank account in
location of the act itself, not the location of the consequences    New York, even if no other contacts between the defendant
of the act, that governs. Platt Corp. v. Platt, 17 N.Y.2d 234,      and New York can be established, if the defendant's use of
237 (1966). The single New York act that the plaintiffs allege      that account was purposeful.” 20 N.Y.3d at 338 (quoting Licci
is the use of a correspondent banking account, but that is a        ex rel. Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50,
plainly not a tort. And, the plaintiffs do not allege that either   66 (2d Cir. 2012) (“Licci I”) (emphasis in original)). The
Masraf al Rayan or Qatar Charity was ever physically present        court held that whether a defendant purposefully availed itself
in New York. Accordingly, section 302(a)(2) does not confer         of the New York forum is a fact-intensive inquiry, but as a
jurisdiction over either defendant.                                 general matter, “complaints alleging a foreign bank's repeated
                                                                    use of a correspondent account in New York on behalf of
Section 302(a)(1) provides for specific jurisdiction when a         a client—in effect, a ‘course of dealing’—show purposeful
party “ ‘transacts business within the state’ and the ‘cause        availment of New York's dependable and transparent banking
of action arises from’ that transaction.” Reed Int'l, Inc.          system, the dollar as a stable and fungible currency, and the
v. Afghanistan Int'l Bank, No. 21-CV-10626, 2023 WL                 predictable jurisdictional and commercial law of New York
2138600, at *5 (S.D.N.Y. Feb. 21, 2023) (citing C.P.L.R. §          and the United States.” Id. at 339. After analyzing the facts
302(a)(2)). “Proof of one transaction in New York is sufficient     alleged in the complaint, the court found that the defendant's
to invoke jurisdiction, even though the defendant never enters      intentional use of a correspondent account “to effect ‘dozens’
New York, so long as the defendant's activities here were           of wire transfers on behalf of a foreign client” constituted a
purposeful and there is a substantial relationship between the      “transaction of business” pursuant to section 302(a)(1). Id. at
transaction and the claim asserted.” Eades, 799 F.3d at 168         334, 340.
(citing Chloé v. Queen Bee of Beverly Hills, LLC, 616 F.3d
158, 170 (2d Cir. 2010). “Purposeful activities are those with      Here, the complaint alleges that Masraf al Rayan “pass[ed]”
which a defendant, through volitional acts, avails itself of the    funds “through” its New York-based correspondent account
privilege of conducting activities within the forum State, thus     at Bank of New York Mellon while facilitating currency
invoking the benefits and protections of its laws.” Fischbarg       exchanges and transfers of money from Qatar Charity to
v. Doucet, 9 N.Y.3d 375, 380 (2007) (internal quotation marks       its branches in the Palestinian territories. (ECF No. 1 ¶
and citation omitted).                                              130.) The complaint also alleges Qatar Charity received the
                                                                    money from donations “in Qatar and around the world,”
 *6 The plaintiffs allege that Masraf al Rayan transacted           although not specifically in the United States. The money was
business in New York as an agent of Qatar Charity when              then transferred into Qatar Charity's Doha-based account at
Masraf al Rayan utilized its correspondent banking account          Masraf al Rayan, where it was converted from U.S. dollars
at Bank of New York Mellon, in New York, on behalf                  or Euros into Israeli shekels, transferred to Qatar Charity's
of Qatar Charity. (ECF No. 61 at 68-73.) “Correspondent             Palestinian accounts (“pass[ing] through” New York) before



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being distributed to Hamas affiliates. (Id.) The scheme alleged    predictable jurisdictional and commercial law of New York
in the complaint is supported by the Manasra confession,           and the United States.” Licci II, 20 N.Y.3d at 339. While
although the confession does not name Bank of New York             the complaint alleges more than mere maintenance of a
Mellon; it simply refers to transfers from Masraf al Rayan to      correspondent account, (ECF No. 1 ¶ 130), and the allegations
“a bank in New York.” (ECF No. 79-1, Ex. A at 11.)                 could arguably be read to state that the transactions using the
                                                                   correspondent account “totaled several million dollars,” Licci
The plaintiffs allege that between 2009 and 2015, Masraf           I, 673 F.3d at 56, there is no indication, as there was in Licci,
al Rayan used this process to move approximately $3.5              that there were “dozens” of transactions. (Id.) Indeed, the
million in U.S. dollars and Euros, and transferred $25 million     complaint is silent on the volume or frequency of the transfers.
from Doha (through Masraf al Rayan, and possibly the               (See also ECF No. 79-1, Ex. A at 11 (stating that unspecified
correspondent account) to a Qatar Charity branch in the            “funds” were transferred to a bank in New York).)
Gaza Strip between 2011 and 2013. (ECF No.1 ¶ 130.) The
plaintiffs additionally allege the planned transfer through        Courts in this circuit consider four factors to determine
Masraf Al Rayan of $28 million from Qatar Charity to               whether the use of a New York correspondent account is
its branches in Palestine between March and September of           deliberate: “(1) the defendant bank's level of control over
2015, although the complaint does not mention whether              the transfers; (2) whether the defendant bank marketed the
this sum was routed through the correspondent account.             correspondent account or encouraged others to use it; (3)
(Id. ¶ 126.) Some unspecified portions of these amounts            the extent to which the use of correspondent account was
ultimately reached Hamas and its affiliates, potentially           necessary to carry out the alleged scheme, and; (4) whether
including $150,000 to the Hebron Islamic Charity Society           the defendant bank took other steps to project itself into the
between March 2011 and September 2015 and unspecified              New York market.” Przewozman, 2023 WL 2562537, at *11
amounts to “the Elehssan Society.” (Id. ¶¶ 128-32.)                (citing Vasquez, 477 F. Supp. 3d at 258). As noted above,
                                                                   the complaint does not include any detail about the number
 *7 It is not especially clear what the plaintiffs are alleging    of transfers through the account, or about the amounts. Nor
about Masraf al Rayan's use of the Bank of New York                do the plaintiffs allege that Masraf al Rayan directed or
Mellon account. The plaintiffs allege in the complaint that        controlled the way the correspondent account functioned. Cf.
Masraf al Rayan used the account to “access USD and to             Off. Comm. of Unsecured Creditors of Arcapita v. Bahrain
distribute [ ] dollars to terrorists and their family members      Islamic Bank, 549 B.R. 56, 68-69 (S.D.N.Y. 2016) (“The
in the Palestinian Territories, where USD were a coveted           Banks ... set the terms of each placement transaction....
currency.” (ECF No. 1 ¶ 164.) On the other hand, they also         The Banks selected U.S. dollars as the currency in which
maintain that Masraf al Rayan used the account to convert          to execute the transaction. The Banks designated New
“USD and Euros held by Qatar Charity in Doha into Israeli          York correspondent bank accounts to receive the funds[.]”).
shekels.” (Id. ¶ 130.) Moreover, the complaint does not allege     Similarly, there are no allegations that Masraf al Rayan
that Masraf al Rayan used the correspondent account for            marketed the correspondent account, or encouraged others
currency exchanges; on the contrary, the plaintiffs say that       to use it, or that the correspondent account was necessary
the currency exchanges took place in Doha. (ECF No. 1 ¶            to exchange dollars for other currencies (or even “cheaper
130; see also ECF No. 79-1, Ex. A at 11.) 7 The plaintiffs         or easier” than other options). See Vasquez v. Hong Kong
allege only that some portion of the money that Masraf             & Shanghai Banking Corp., No. 18-CV-1876, 2019 WL
al Rayan transferred for Qatar Charity “passed through”            2327810, at *12 (S.D.N.Y. May 30, 2019); Vasquez, 477 F.
the correspondent account as part of “currency exchange            Supp. 3d at 259. 8
transactions” that converted dollars into Israeli shekels. (Id.;
see also ECF No. 61 at 13-14 (stating that the funds at            In short, the allegations do not establish that Masraf al Rayan
issue were “passed through” and “transferred ... through” the      purposefully availed itself of the New York banking system.
correspondent bank account at issue).)                             See, e.g., Singer v. Bank of Palestine, No. 19-CV-6, 2021
                                                                   WL 4205176, at *5-6 (E.D.N.Y. Apr. 30, 2021) (concluding
Nor do the plaintiffs allege that Masraf al Rayan chose a          there was a lack of jurisdiction where the jurisdictional
New York-based account specifically to take advantage of           allegations were a “conclusory web” lacking “information
“New York's dependable and transparent banking system,             as to dates, dollar amounts, number of transactions, senders
the dollar as a stable and fungible currency, and the              or recipients of [the] transfers,” but allowing limited



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jurisdictional discovery). Due to the nature of interbank          citations omitted). 9 These elements are satisfied when the
activity, and “the widespread use of correspondent accounts        non-resident defendant “played an active role in directing
nominally in New York to facilitate the flow of money              the intermediary's activities relating to the specific in-forum
worldwide ... for transactions that otherwise have no other        transactions at issue.” Id. at 111. In Spetner, the court found
connection to New York,” Licci II, 20 N.Y.3d at 338,               that there was no agency relationship, because the plaintiffs
allegations of jurisdiction based on a correspondent bank          did not allege that the defendant bank chose the providers of
account need to be specific regarding the scope and the            the intermediary bank's correspondent accounts in New York
extent to which the account was used. See Przewozman,              or had any say about which of the accounts were used for
2023 WL 2562537, at *12. Otherwise, jurisdiction would
                                                                   specific transactions. Id. at 111-12. 10
be established for any financial transaction conducted in
U.S. dollars that is routed through New York, regardless
                                                                   The plaintiffs’ claims of an agency relationship between
of whether it was purposeful. See id.; see also Cmty. Fin.
                                                                   Masraf al Rayan and Qatar Charity do not sufficiently allege
Grp., Inc. v. Stanbic Bank Ltd., No. 14-CV-5216, 2015
                                                                   that Qatar Charity exercised control over Masraf al Rayan
WL 4164763, at *4 (S.D.N.Y. July 10, 2015) (routing of
                                                                   in its dealings with the correspondent bank. The plaintiffs
U.S. dollar wire payment through New York correspondent
                                                                   cite the Manasra confession as evidence of a “conspiracy
account was adventitious, not purposeful use of forum); Hau
                                                                   to fund Hamas” that involved Qatar Charity and Masraf al
Yin To v. HSBC Holdings PLC, No. 15-CV-3590, 2017 WL
                                                                   Rayan (ECF No. 1 ¶ 130; ECF No. 79-1, Ex. A at 11), but
816136, at *7 n.6 (S.D.N.Y. Mar. 1, 2017), aff'd 700 F. App'x
                                                                   Manasra admitted only that “funds in dollars were transferred
66 (2d Cir. 2017) (dismissing for lack of personal jurisdiction
                                                                   to a bank in New York;” he said nothing about whether Qatar
where wiring of U.S. dollars through correspondent account
                                                                   Charity controlled the way Masraf al Rayan selected or used
was “passive, rather than ‘integral’ to the alleged” fraud).
                                                                   the correspondent account. The only allusion to control is
Accordingly, the Court cannot at this point determine whether
                                                                   conclusory: “Qatar Charity originated multiple USD transfers
there is personal jurisdiction under the first prong of § 302(a)
                                                                   that Masraf, at Qatar Charity's direction, processed through
(1) because of the deficiencies in the complaint.
                                                                   New York.” (ECF No. 61 at 72); see Pincione v. D'Alfonso,
                                                                   506 F. App'x 22, 24 (2d Cir. 2012) (holding that “allegations
 *8 The plaintiffs’ allegations of jurisdiction over Qatar
                                                                   concerning [ ] agency were entirely conclusory and thus
Charity are also premised on Masraf al Rayan's use of its
                                                                   inadequate” to establish personal jurisdiction); Schwab, 883
correspondent account. While the plaintiffs do not allege any
                                                                   F.3d at 86 (“Schwab's sparse allegations of agency, however,
direct ties between Qatar Charity and New York, they allege
                                                                   are too conclusory to make a prima facie showing of personal
that Masraf al Rayan was Qatar Charity's agent and that by
                                                                   jurisdiction.”); Polansky v. Gelrod, 20 A.D.3d 663, 664
directing Masraf al Rayan to “make certain USD transfers
                                                                   (3d Dep't 2005) (declining to find agency where “plaintiff
that could only be effectuated through a U.S. correspondent
                                                                   offer[ed] only the conclusory allegation that [the alleged
bank,” (ECF No. 61 at 70), Qatar Charity is subject to this
                                                                   agent] was their agent, with no supporting evidentiary
Court's jurisdiction.
                                                                   facts establishing control”). 11 Finally, “[a]bsent unusual
“A correspondent bank relationship, standing alone, does           circumstances, an individual bank customer would have no
not create an agency relationship.” Aaron Ferer & Sons             reason to direct its foreign bank to use a New York-based
Ltd. v. Chase Manhattan Bank, Nat. Ass'n, 731 F.2d 112,            correspondent account for a transaction that, such as those at
122 (2d Cir. 1984). “The Second Circuit has directed that          issue here, has no other connection to New York.” Berdeaux,
courts focus on the realities of the relationship in question      561 F. Supp. 3d at 403 n.25.
rather than the formalities of agency law when determining
whether an agency relationship exists for the purpose of            *9 Accordingly, based on the plaintiffs’ allegations, the
establishing personal jurisdiction under section 302. But even     Court cannot at this point determine whether an agency
this practical analysis turns on the elements of the classic       relationship existed between Masraf al Rayan and Qatar
agency relationship: that the in-forum intermediary acted (1)      Charity sufficient to confer jurisdiction over Qatar Charity
for the benefit of, (2) with the knowledge and consent of,         based on Masraf al Rayan's use of its correspondent bank
and (3) under some degree of control of the non-resident           account. 12
principal.” Spetner v. Palestine Inv. Bank, 495 F. Supp.
3d 96, 110 (E.D.N.Y. 2020) (internal quotation marks and



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                                                                  bank in New York account created minimum contacts because
                                                                  the defendant was purposefully using the account to affect the
                       ii. Rule 4(k)(2)
                                                                  alleged harm; the court emphasized, however, the “recurring”
Rule 4(k)(2), the federal long-arm statute, allows federal        nature of the transfers at issue, which demonstrated the
courts to exercise personal jurisdiction if “(1) plaintiff's      “selection and repeated use of New York's banking system.”
cause of action arise[s] under the federal law; (2) ... the       Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d
defendant is not subject to the jurisdiction of the courts        161, 170-71 (2d Cir. 2013) (finding that because the defendant
of general jurisdiction of any one State; and (3) ... the         effectuated dozens of wire transfers totaling several million
defendant's total contacts with the United States as a whole      dollars, its contacts with New York were not random, isolated,
are sufficient to confer the court with personal jurisdiction     or fortuitous, but rather, the transfers were deliberate and
without offending due process.” Hartford Fire Ins. Co. v. M/      recurring and constituted purposeful availment).
V MSC INSA, No. 03-CV-2196, 2003 WL 22990090, at *3
(S.D.N.Y. Dec. 18, 2003) (quoting Aerogroup Int'l, Inc. v.         *10 As noted above, “key supporting facts such as number
Marlboro Footworks, Ltd., 956 F. Supp. 427, 434 (S.D.N.Y.         of transfers, dates, and monetary amounts, which other courts
1996)). Due process considerations require that the defendant     have relied upon to find a prima facie showing of personal
“have certain minimum contacts [with the forum state] such        jurisdiction are lacking here.” Singer, 2021 WL 4205176, at
that the maintenance of the suit does not offend traditional      *7. “When determining whether the use of a bank branch
notions of fair play and substantial justice.” Int'l Shoe,        constitutes purposeful availment, courts typically consider
326 U.S. at 316 (internal quotation marks omitted). “The          the number of transfers identified and volume of money
personal jurisdiction analysis under Rule 4(k)(2) mirrors the     transferred, as well as whether plaintiffs allege the dates
standard personal jurisdiction analysis ... except the question   of the transfers.” Brown v. Nat'l Bank of Pakistan, No. 19-
of whether exercising personal jurisdiction comports with due     CV-11876, 2022 WL 1155905, at *3 (S.D.N.Y. Apr. 19,
process depends on whether the non-resident has sufficient        2022). Finally, as noted above, the plaintiffs merely allege
minimum contacts with the United States as a whole.” Zurich       that some portion of the money transferred by Masraf al
Am. Life Ins. Co. v. Nagel, 571 F. Supp. 3d 168, 178 (S.D.N.Y.    Rayan on behalf of Qatar Charity “passed through” the
2021).                                                            correspondent account. (ECF No. 1 ¶ 130.) Accordingly,
                                                                  just as the plaintiffs’ generalized allegations are insufficient
“In this Circuit, to meet the second requirement of Rule 4(k)     to satisfy New York's long-arm statue, they are insufficient
(2), plaintiffs need to certify that, to their knowledge, the     to satisfy the due process requirement. Brown, 2022 WL
foreign defendant is not subject to jurisdiction in any other     1155905, at *3. (“The allegations do not allege plausibly a
state.” Astor Chocolate Corp. v. Elite Gold Ltd., 510 F. Supp.    course of dealing, or that Defendant has purposefully availed
3d 108, 125 (S.D.N.Y. 2020); see also In re SSA Bonds             itself of the forum by engaging in a frequent and deliberate
Antitrust Litig., 420 F. Supp. 3d 219, 240 (S.D.N.Y. 2019).       use of its New York branch.”).
Because the plaintiffs have not certified that the defendants
are not subject to general jurisdiction in another state, they
                                                                     b. Qatar National Bank
have not met all of the elements of Rule 4(k)(2). 7 W. 57th St.
                                                                  The plaintiffs advance the same theory of jurisdiction for
Realty Co., LLC v. Citigroup, Inc., No. 13-CV-981, 2015 WL
                                                                  Qatar National Bank that they advanced in Przewozman:
1514539, at *13 (S.D.N.Y. Mar. 31, 2015), aff'd, 771 F. App'x
                                                                  that “personal jurisdiction over Qatar National Bank may
498 (2d Cir. 2019) (“Accordingly, the second prerequisite
                                                                  be established based on their participation in a conspiracy
for application of Rule 4(k)(2) has not been met. A contrary
                                                                  with the other Defendants, who used a correspondent banking
holding would encourage similarly-situated plaintiffs—those
                                                                  account in New York to transact in United States Dollars.”
suing foreign corporations under federal law—to omit any
                                                                  Przewozman, 2023 WL 2562537, at *15; (see generally ECF
allegations tying defendants to a specific state, in hopes of
                                                                  No. 61 at 60-82.) In Przewozman, Judge Garaufis dismissed
engaging the broader minimum contacts analysis of Rule 4(k)
                                                                  the claims against Qatar National Bank for lack of personal
(2), which only requires contacts with the United States as
                                                                  jurisdiction. I adopt that thorough and cogent analysis of the
a whole.”) 13 Moreover, as noted above, the plaintiffs have       plaintiffs’ claims against Qatar National Bank, and conclude,
not satisfied their burden to show that the defendants had        as Judge Garaufis did, that the claims against Qatar National
sufficient minimum contacts with the United States. In Licci,     Bank should be dismissed for lack of personal jurisdiction.
the court found that wire transfers through a correspondent


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New York's long-arm statute does not provide for co-               conclusory statements that the accounts “were used to finance
conspirator jurisdiction, Przewozman, 2023 WL 2562537, at          Hamas [ ] terrorist activities in Israel,” and that they “allowed
*16, and thus does not establish personal jurisdiction over        the released terrorists to finance their personal expenditures,
Qatar National Bank.                                               thereby freeing them to continue to conduct activities on
                                                                   behalf of Hamas [ ]” and were “directly used ... to further
I also agree with Judge Garaufis that Rule 4(k)(2) does            the efforts of Hamas [ ] to carry out terrorist attacks. (ECF
not confer conspiracy jurisdiction over Qatar National Bank.       No. 1 ¶ 224.) “How or when these accounts were used is
As explained above, Rule 4(k)(2) states that proper service        left to the imagination.” Przewozman, 2023 WL 2562537,
establishes personal jurisdiction in federal courts over a         at *18. Accordingly, the plaintiffs have not sufficiently
defendant for claims arising under federal law if “(A) the         demonstrated that Qatar National Bank participated in the
defendant is not subject to jurisdiction in any state's courts     alleged conspiracy and this Court does not have personal
of general jurisdiction; and (B) exercising jurisdiction is        jurisdiction over Qatar National Bank based on a conspiracy
consistent with the United States Constitution and laws.”          theory of personal jurisdiction.
Fed. R. Civ. P. 4(k)(2). The Second Circuit has established
a three-prong test to determine whether there are sufficient
contacts with the forum jurisdiction under a conspiracy theory        c. Jurisdictional Discovery
of jurisdiction. Schwab, 883 F.3d at 86-87. The plaintiffs          *11 Plaintiffs who do not make a prima facie showing of
must allege “that (1) a conspiracy existed; (2) the defendant      personal jurisdiction typically are not entitled to jurisdictional
participated in the conspiracy; and (3) a co-conspirator's overt   discovery. See Best Van Lines, Inc. v. Walker, 490 F.3d 239,
acts in furtherance of the conspiracy had sufficient contacts      255 (2d Cir. 2007) (holding that “the district court acted
with a state to subject that co-conspirator to jurisdiction in     well within its discretion in declining to permit discovery
that state.” Id. at 87. Although the constitutional analysis       because the plaintiff had not made out a prima facie case”).
“does not require a relationship of control, direction, or         Moreover, “[c]ourts ... will not permit jurisdictional discovery
supervision” between the defendant and its co-conspirator,         on the basis of a generalized request more akin to a fishing
“the conspiratorial contacts must be of the sort that a            expedition.” Alexander v. Porter, No. 13-CV-6834, 2014 WL
defendant ‘should reasonably anticipate being haled into           7391683, at *6 (E.D.N.Y. Dec. 29, 2014).
court’ in the forum as a result of them.” Schwab Short-Term
Bond Mkt. Fund v. Lloyds Banking Grp. Plc, 22 F.4th 103,           However, it is well settled under Second Circuit law that
125 (2d Cir. 2021) (citing World-Wide Volkswagen Corp. v.          a court may order discovery, in its discretion, even where
Woodson, 444 U.S. 286, 297 (1980).                                 plaintiff has not made a prima facie showing of personal
                                                                   jurisdiction, when it concludes that the plaintiff may be
As Judge Garaufis observed in Przewozman, the plaintiffs           able to establish jurisdiction if given the opportunity to
did not “allege in a non-conclusory manner any facts               develop a full factual record. Leon v. Shmukler, 992 F. Supp.
from which an inference of agreement between Qatar                 2d 179, 194 (E.D.N.Y. 2014). “[J]urisdictional discovery is
National Bank and the other defendants can be drawn.”              only appropriate when Plaintiff has asserted ‘specific, non-
Przewozman, 2023 WL 2562537, at *18. The plaintiffs allege         conclusory facts that, if further developed, could demonstrate
that Qatar National Bank maintained bank accounts and              substantial state contacts.’ ” Russo v. Sys. Integrators Inc.,
provided banking services for Qatar Charity and various            No. 17-CV-4317, 2018 WL 4100493, at *5 (E.D.N.Y. Aug.
Hamas-affiliated individuals, (ECF No. 1 ¶¶ 14-15, 171-172,        28, 2018) (quoting Leon, 992 F. Supp. 2d at 195); see
174-225), contributed to Qatar Charity (id. ¶¶ 225-26), and        also Ayyash v. Bank Al-Madina, No. 04-CV-9201, 2006 WL
was controlled by members of the Qatari government and             587342, at *5 (S.D.N.Y. Mar. 9, 2006) (“Such discovery
royal family, who themselves have ties to Hamas. (Id. ¶¶           has typically been authorized where the plaintiff has made a
85-87, 111-122.) The complaint does not allege that the Qatari     threshold showing that there is some basis for the assertion
government or royal family were involved in the terrorist          of jurisdiction, facts that would support a colorable claim of
attacks at issue, and as Judge Garaufis pointed out, the           jurisdiction.” (internal quotation marks and citation omitted)).
plaintiffs do not even establish a connection between Qatar        The Court has “broad discretion” in deciding whether to
National Bank and the transfers effected by Masraf al Rayan.       allow jurisdictional discovery. Lehigh Valley Indus., Inc. v.
Przewozman, 2023 WL 2562537, at *18. Indeed, the only              Birenbaum, 527 F.2d 87, 93 (2d Cir. 1975).
allegation about the Qatar National Bank accounts are the



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Here, because the plaintiffs have pleaded facts which could        bank at all. (See ECF No. 68 at 5-6.) However, at this stage
support a colorable claim of jurisdiction over Masraf al           of the proceedings, drawing inferences in the plaintiffs’ favor,
Rayan, jurisdictional discovery will enable the plaintiffs to      the Court finds that the plaintiffs could plausibly allege that
determine whether there are additional facts that would permit     Qatar Charity exercised some control over Masraf al Rayan.
the Court to determine whether there is personal jurisdiction
under the first prong of § 302(a)(1) and whether exercising        Judge Garaufis denied jurisdictional discovery in
personal jurisdiction would comport with due process.              Przewozman because the terrorist attack at issue in that case
                                                                   occurred in 2019, well after the last transaction through
The plaintiffs assert that Masraf al Rayan used a                  the correspondent account in 2015. Przewozman, 2023 WL
correspondent bank account in New York to conduct large-           2562537, at *13. Judge Garaufis concluded that under those
volume U.S. dollar transfers to organizations affiliated with      circumstances, the “temporal gap [made] the nexus between
Hamas during the relevant period. (ECF No. 1 ¶ 130.) The           the Defendants’ New York-related acts and Plaintiffs’ injuries
plaintiffs also allege that Masraf al Rayan knowingly assisted     far too attenuated.” Id. In this case, however, there is no
Hamas, the party responsible for the terrorist attacks at issue,   similar temporal gap with respect to the first attack, which
by facilitating these dollar transfers. (Id. ¶¶ 161-67.) Because   took place in 2015, when Masraf al Rayan is alleged to have
some of these allegations could support a colorable basis for      been using the correspondent New York account. 14
personal jurisdiction, the plaintiffs have made a sufficient
start to establishing personal jurisdiction. And indeed, as the    While the second attack occurred later, in 2018, I cannot
plaintiffs noted at the March 16 th conference, there is no        determine at this point whether the 2018 attack was
way for them to know, without some discovery, anything             attenuated, as it was in Przewozman. A nexus may be “too
about the number of transfers, the amounts transferred, or the     attenuated if, ... Defendant ... executed the New York transfers
denominations in which the transfers were made, information        at a time far removed from the attacks that caused Plaintiffs’
in the control of Masraf al Rayan and Qatar Charity. (Mar. 16      injuries.” Strauss v. Crédit Lyonnais, S.A., 175 F. Supp. 3d
H'rg Tr. at 11-12, 20-21.)                                         3, 20 (E.D.N.Y. 2016). One court has determined that there
                                                                   is no articulable nexus or substantial relationship when ten
In short, while the complaint currently lacks key supporting       years separates the wire transfers and the plaintiffs’ injuries.
facts, the plaintiffs have plausibly pleaded that they might       Universal Trading & Inv. Co. v. Credit Suisse (Guernsey) Ltd.,
reasonably be able to identify these facts if given the            No. 12-CV-198, 2012 WL 6186598, at *4 (S.D.N.Y. Dec.
opportunity to develop the record. Accordingly, limited            12, 2012), aff'd, 560 F. App'x 52 (2d Cir. 2014). However, a
jurisdictional discovery is appropriate to determine whether       two-year gap does not preclude finding an articulable nexus.
the Court has personal jurisdiction over Masraf al Rayan.          See Weiss v. Nat'l Westminster Bank PLC, 453 F. Supp. 2d
                                                                   609, 632 (E.D.N.Y. 2006) (“I cannot conclude as a matter
 *12 The plaintiffs have also pleaded facts that could support     of law that [defendant's] transaction in 2000 could not be
a colorable claim that Masraf al Rayan was acting as Qatar         the proximate cause of an attack that occurred less than
Charity's agent. The plaintiffs allege that Qatar Charity          two years later in 2002.”); Averbach v. Cairo Amman Bank,
directed Masraf al Rayan to use its account in the United          No. 19-CV-4, 2020 WL 486860, at *2-3, 6-7 (S.D.N.Y. Jan.
States to gain access to U.S. dollars, which were “coveted”        21, 2020), report and recommendation adopted sub nom.
by Hamas. (ECF No. 1 ¶¶ 5, 164.) Moreover, Manasra,                Averbach for Est. of Averbach v. Cairo Amman Bank, No.
a former Qatar Charity employee, stated in his confession          19-CV, 2020 WL 1130733 (S.D.N.Y. Mar. 9, 2020) (finding
that “funds in dollars were transferred to a bank in New           an articulable nexus when the fund transfers at issue were
York,” demonstrating that Qatar Charity may have had direct        made between December 1999 and September 2001 and the
knowledge that Masraf al Rayan was using the Bank of New           terrorist attacks occurred between December 1, 2001 and
York Mellon account. (ECF No, 79-1, Ex. A at 11.) To be            August 19, 2003).
sure, Manasra also said that Qatar Charity had access to U.S.
dollars before those funds were transferred to the New York        In this case, because of “the fungible nature of money and
bank, which is inconsistent with the plaintiffs’ assertion that    the fact that it is difficult to say when the particular dollar
the correspondent bank was used to gain access to “coveted”        given to a terrorist is actually used,” Weiss, 453 F. Supp.
U.S. dollars. The defendants also question as a factual matter     2d at 632, there could be an articulable nexus between the
whether the funds were transferred through the correspondent       transfer of funds that occurred between 2009 and 2015 and



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                                                                   Discovery must be reasonably tailored to this jurisdictional
the 2018 terrorist attack. Qatar National Bank is different.
                                                                   issue. The parties will have 120 days from entry of this order
The plaintiffs do not allege that it had any direct contact with
                                                                   to conduct this discovery.
New York, or the United States generally, and their allegations
regarding its involvement in the alleged conspiracy are
conclusory. The plaintiffs have not made a threshold showing
that the record could be further developed to support a                                  CONCLUSION
colorable claim of jurisdiction as to Qatar National Bank.
Accordingly, granting jurisdictional discovery with respect to     Accordingly, Qatar National Bank's motion to dismiss is
Qatar National Bank would amount to a fishing expedition,          granted without prejudice. Qatar Charity and Masraf al
so that request is denied.                                         Rayan's motions to dismiss are denied without prejudice to
                                                                   renew as set forth in this Order. Magistrate Judge Vera M.
 *13 Discovery will be limited to document requests and            Scanlon will manage the jurisdictional discovery and set a
interrogatories that could show the frequency with which           briefing schedule for any additional dispositive motions by
Masraf al Rayan used of the Bank of New York Mellon                Masraf al Rayan and/or Qatar Charity.
account, and whether that use was deliberate, during the
time period relevant to the terrorist attacks, and that the        SO ORDERED.
plaintiffs’ claims arose from Masraf al Rayan contacts with
New York. For Qatar Charity, discovery will be limited
                                                                   All Citations
to document requests and interrogatories sufficient to show
whether Masraf al Rayan was acting as Qatar Charity's agent.       Slip Copy, 2023 WL 2734788




                                                           Footnotes


1      The defendants moved to dismiss for improper service, but subsequently withdrew those challenges. (See
       ECF Nos. 69, 70, 72.)

2      The complaint alleges that the charity was founded in 2002. However, public sources, including Qatar
       Charity's website, state the organization was founded in 1992. The Court assumes the discrepancy is a
       typographical error. See, e.g., What We Do, Qatar Charity, https://www.qcharity.org/en/qa/home/whatwedo
       (last visited Mar. 20, 2023).

3      The February 2020 payment from Qatar National Bank to Qatar Charity was “purportedly to assist Syrian
       refugees.” (Id. ¶ 226.)

4      The complaint states that “Qatar Charity [ ] distributed a portion of those funds to Hamas and its affiliates.” (Id.
       ¶ 130.) However, during a March 16, 2023 hearing on the motions to dismiss, plaintiffs clarified that “the
       allegations in the complaint are that [the funds] went to entities that are controlled by Hamas.” (Mar. 16, 2023
       Hearing Transcript (“Mar. 16 H'rg Tr.”) at 7-8.)

5      Although Hamas also killed Na'ama Henkin in the 2015 attack, the plaintiffs’ claims relate only to Eitam
       Henkin.

6      Although the plaintiffs cited 18 U.S.C. § 2334(a) in their complaint as a basis for jurisdiction, they did not raise
       the argument in any subsequent filings. That statute provides for venue and service “in the district court of
       the United States for any district where any plaintiff resides or where any defendant resides or is served, or
       has an agent.” 18 U.S.C. § 2334(a). Even assuming that § 2334(a) covers personal jurisdiction, the plaintiff
       does not claim that any party resides or has an agent in New York.



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7      Manasra did not say in his confession that the account was used to exchange currency.

8      The complaint states that “Masraf al Rayan had no U.S. branch or office.” (ECF No. 1 ¶ 156.)

9      The plaintiffs assert that they do not need to demonstrate that Qatar Charity had control over Masraf al
       Rayan, only that Masraf al Rayan knew that it was acting on Qatar Charity's behalf. (ECF No. 61 at 73.)
       Once the agency relationship is established, they argue, Masraf al Rayan's knowledge is then attributed to
       the Qatar Charity. “Under [New York law], there is jurisdiction over a principal based on the acts of an agent
       where the alleged agent acted in New York for the benefit of, with the knowledge and consent of, and under
       some control by, the nonresident principal.” Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 85 (2d
       Cir. 2018) (internal quotation marks and citations omitted). “This control requirement is vital: ‘[a]lthough the
       long-arm statute and the Due Process Clause are not technically coextensive, the New York requirements
       (benefit, knowledge, some control) are consonant with the due process principle that a defendant must have
       ‘purposefully availed itself of the privilege of doing business in the forum.’ ” Al Thani v. Hanke, No. 20-
       CV-4765, 2021 WL 1895033, at *12 (S.D.N.Y. May 11, 2021) (quoting Schwab, 883 F.3d at 85).

10     The plaintiffs say that Spetner is different because Qatar Charity and Masraf al Rayan acted in concert, while
       the Spetner plaintiffs made no similar allegations. (ECF No. 61 at 68.) While the plaintiffs have alleged that
       Masraf al Rayan and Qatar Charity acted in concert, they have not alleged or demonstrated control, which
       they must do.

11     The plaintiffs submit the Declaration of Patrick McArdle for the proposition that wire transactions, like those
       here, must pass through a U.S.-based correspondent account, (ECF No. 61 at 64 n.36 (citing ECF No. 63 ¶¶
       6-14)); the plaintiffs say that the fact that Qatar Charity instructed Masraf al Rayan to make certain transfers
       demonstrates its knowledge that a U.S. correspondent bank would be involved. (See ECF No. 63 ¶ 19.)
       The McArdle declaration states only the transfers were “almost certainly settled in the U.S.” because that
       was how a “transaction involving U.S. dollars would typically operate.” (Id. at 6-7.) The Declaration does not
       establish that Qatar Charity intended that Masraf al Rayan effectuate transfers on its behalf in the United
       States specifically, or that Qatar Charity in any way controlled Masraf al Rayan's banking activities. Indeed,
       as the Spetner court pointed out, “[the defendant] may have expected, or even known for a fact, that [the
       intermediary] would need to settle the wire transfers in New York; but knowing and expecting are not the
       same as directing and controlling.” Spetner, 495 F. Supp. 3d at 110.

12     Because I find that personal jurisdiction over Qatar Charity may be established after jurisdictional discovery
       pursuant to a theory of agency jurisdiction, I decline to consider the plaintiffs’ argument that the Court has
       personal jurisdiction over Qatar Charity pursuant to a conspiracy theory of jurisdiction. The parties can re-
       brief this issue after jurisdictional discovery.

13     Because the Court is ordering jurisdictional discovery, it also grants the plaintiffs the opportunity to submit a
       certification before jurisdictional discovery commences. See, e.g., Miami Prod. & Chem. Co. v. Olin Corp.,
       449 F. Supp. 3d 136, 177 (W.D.N.Y. 2020).

14     The defendants do not address the temporal proximity of the 2015 attack. (See ECF No. 54 at 11 n.8; ECF
       No. 56-1 at 9-10, 17-18; ECF No. 58-1 at 16.)



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